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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
 MIDNIGHT MADNESS DISTILLING LLC,                         CHAPTER 7
                                                          Case No. 21-11750-PMM
                     Debtor.




 BONNIE B. FINKEL, in her capacity as Chapter 7           Adv. No. 23-00047-PMM
 Trustee for Midnight Madness Distilling LLC,             Re: Adv. Docket No. 50

                     Plaintiff,
             v.

 CASEY PARZYCH, et al.,

                     Defendants.

          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
   TO MOVING DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT




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       Plaintiff Bonnie B. Finkel, in her capacity as Chapter 7 Trustee (the “Trustee” or

“Plaintiff”) for the bankruptcy estate of Debtor Midnight Madness Distilling, LLC f/k/a Theobald

and Oppenheimer, LLC d/b/a Faber Distilling (the “Debtor”), submits this Memorandum of Law

in opposition to the motion to dismiss (the “Motion”) filed by Defendants Casey Parzych; Shawn

Sheehan; Angus Rittenburg; Kelly Festa; Ashleigh Baldwin; Michael Boyer; R.F. Culbertson;

Polebridge, LLC; Good Design, Inc.; AgTech PA LLC; AgTech VI, LLC; XO Energy Worldwide,

LLLP; XO EW, LLC; Best Bev, LLC; EtOH Worldwide, LLC; and Canvas 340, LLC

(collectively, the “Moving Defendants”) with respect to the Trustee’s Amended Complaint (Adv.

D.I. 44).

I.     INTRODUCTION

       The Trustee filed an Amended Complaint detailing a brazen scheme to loot the Debtor

through a number of entities to which Debtor opportunities, property, and profits were diverted

with the purpose, intent, and effect of enriching the Moving Defendants at the expense of the

Debtor and its creditors. The Amended Complaint alleges in detail how Debtor resources,

employees, and equipment were used for the benefit of three groups of these shadow entities – the

“Polebridge Entities,” the “Wynk Entities,” and the “Best Bev Entities” – to avoid paying the

legitimate creditors of the Debtor. The Polebridge Entities used Debtor resources to manufacture

and sell CBDelight cannabis seltzer and Faber Hand Sanitizer, with all profits flowing not to the

Debtor, but instead to the Moving Defendants. The Wynk Entities, which a Debtor representative

described as “one and the same” as the Debtor, similarly used Debtor resources to manufacture

and sell Wynk cannabis seltzer, with all profits flowing not to the Debtor, but instead to the Moving

Defendants. And the Best Bev Entities were formed by outright theft from the Debtor and held

out as the mere continuation of the Debtor.



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       With the majority of the Trustee’s claims surviving the Moving Defendants’ first motion

to dismiss, Moving Defendants belatedly – over fifteen months after this adversary proceeding

was filed – argue that the Trustee lacks standing because her claims were transferred by the Debtor-

in-possession to Millstone prior to appointment of the Trustee. Moving Defendants’ argument is

baseless and is contradicted by the plain language of the applicable Asset Purchase Agreement,

which transferred only those assets used in or related to the Debtor’s liquor business. As set forth

in detail in the Amended Complaint, the Trustee’s claims relate not to the Debtor’s operation of

its liquor business, but instead the Moving Defendants’ brazen theft from that business for the

benefit of competing entities, several of which operated businesses it would have been illegal for

the Debtor to participate in. The Trustee’s interpretation of the APA is supported by statements

made in open court by counsel for the Debtor-in-possession and Millstone. It is further supported

by judicial admissions made on behalf of Defendant Casey Parzych – who controlled the Debtor-

in-possession prior to appointment of the Trustee – stating that the Debtor’s estate retains claims

akin to those now being asserted by the Trustee. Finally, Millstone interprets the APA as not

having transferred the causes of action now being asserted by the Trustee.

       The Moving Defendants’ remaining arguments are by and large identical to those which

were raised in their first motion to dismiss and which have already been rejected by this Court.

This Court’s decision is law of the case and Moving Defendants’ attempt at a second bite at the

apple should be denied. Moreover, as set forth in detail herein, Moving Defendants’ arguments

are no more persuasive the second time around. The Amended Complaint alleges numerous

detailed facts supporting each of its claims against the Moving Defendants, and Moving

Defendants’ motion should be denied.




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II.    FACTUAL ALLEGATIONS

       The following factual allegations from the Trustee’s Amended Complaint (Adv. D.I. 44,

the “Amended Complaint”) must be accepted as true and viewed in the light most favorable to the

Trustee, with all factual inferences taken in the Trustee’s favor. Phillips v. Cty. of Allegheny, 515

F.3d 224, 228 (3d Cir. 2008).

       A.      The Debtor’s Formation and Operations

       The Debtor, also known as Theobald & Oppenheimer and Faber Distilling Co., was co-

founded by Defendant Casey Parzych and Anthony Lorubbio in or around 2012 while the two

were enrolled in Defendant Culbertson’s Intro to Entrepreneurship class at Carnegie Mellon

University. Amended Complaint at ¶ 39. In the years leading up to its June 21, 2021 bankruptcy

filing, the Debtor experienced rapid growth—from almost nothing to $10 million in annual sales

in 2020—developing, manufacturing, marketing and selling thirty+ distilled spirit products, with

its most prominent products bearing the Faber brand. Id. at ¶¶ 7, 41.

       B.      The Insider Defendants Form Good Design, Polebridge, and the Wynk
               Entities To Funnel Money Out of the Debtor in Collusion with Defendant
               Sheehan

       On April 19, 2019, the Debtor entered into a Loan Agreement and a Security Agreement

with PNC pursuant to which it ultimately borrowed approximately $2.5 million. Amended

Complaint at ¶ 42. To secure the loan, PNC received a first lien on all personal property of the

Debtor and a second mortgage on the Debtor’s headquarters at 118 North Main St.,

Trumbauersville in Bucks County (“118 North Main”). Id. As set forth in detail in the Amended

Complaint, to circumvent PNC’s security interest, Defendants and Debtor insiders Casey Parzych,

Rittenburg, Festa, Baldwin, Boyer, and Culbertson (collectively, the “Insider Defendants”)

conspired among themselves and with the other Defendants in this action to form shadow entities



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in the same lines of business as the Debtor which they then used to misappropriate Debtor

resources and loot the Debtor. Id. at ¶¶ 10-16, 43. The unlawful scheme involved sham profit

sharing arrangements and sham loan agreements between the Debtor and Defendant Sheehan’s

collection of wholly-owned Virgin Islands based entities – namely, Defendant AgTech VI, LLC,

Defendant XO Energy Worldwide, LLLP, Defendant XO EW, LLC, Defendant EtOH Worldwide,

LLC, AgTech VI LLLP, and AGTVI LLC (collectively, the “Sheehan Entities”) – through which

Debtor resources were misappropriated and Debtor profits were siphoned out, and the ill-gotten

gains were shared among the Defendants. Id. at ¶ 44.

               1.      The Polebridge Entities

       Effective April 19, 2019 – the same date that the Debtor executed the PNC Loan Agreement

– Defendant Baldwin formed Defendant Polebridge, LLC (“Polebridge”) as a Pennsylvania limited

liability company, listing its registered office as the Debtor’s headquarters at 118 North Main. Id.

at ¶ 46. On May 23, 2019, Defendants Baldwin and Rittenburg formed Defendant Good Design,

Inc. (“Good Design”) as a British Columbia corporation, listing the Debtor’s headquarters as the

incorporators’ address. Id. at ¶ 47. Using Debtor computers while she was the Debtor’s CFO,

Defendant Festa provided administrative support for the filing of Polebridge’s and Good Design’s

registration documents. Id. at ¶¶ 12, 46, 47. On February 4, 2020, Defendant Baldwin caused

Polebridge to register “Good Design” as a fictitious name with the Pennsylvania Department of

State, listing “canning” – a key line of business of the Debtor – as the “nature of the business or

other activity to be carried on under or through the fictitious name.” Id. at ¶ 48.

       While they were Debtor fiduciaries, each of the Insider Defendants participated in the

management and operation of Defendants Polebridge and Good Design (collectively, the

“Polebridge Entities”) to the Debtor’s detriment. Id. at ¶¶ 19-20. Defendants Baldwin (Casey



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Parzych’s spouse) and Rittenburg are officers and members/shareholders of the Polebridge

Entities. Id. at ¶¶ 11, 13. Defendant Culbertson states on his public LinkedIn page that he has

been employed in sales and marketing for Good Design since January 2019. Id. at ¶ 53. Defendant

Boyer simultaneously served as general counsel to the Debtor and counsel to the Polebridge

Entities. Id. at ¶ 14. Defendant Festa used the Debtor’s computers to provide administrative

support for the filing of the Polebridge Entities’ registration documents, used the Debtor’s

computers to further the business of the Polebridge Entities with her Polebridge Entities email

address, and instructed the Debtor’s sales managers to ensure that monies which should have been

paid to the Debtor were instead paid to Polebridge. Id. at ¶¶ 46, 47, 55, 75. And Defendant Casey

Parzych instructed Debtor sales representatives to make a Polebridge Entities product their top

“mission critical priority.” Id. at ¶ 60.

                        a.      CBDelight Seltzer

        The Polebridge Entities’ first project was CBDelight seltzer (“CBDelight”), a carbonated

beverage containing cannabis derivatives. Id. at ¶ 49. As established by the following facts,

CBDelight was manufactured, packaged, and marketed using Debtor resources, labor, and

material, including but not limited to: office and warehouse space for operations, the purchase of

additional canning/bottling equipment utilized for the purposes of Good Design/Polebridge, sales

services and incentives, marketing services, graphic design services, digital marketing and

advertising services, legal services, intellectual property, and bottling services. Id. at ¶ 50.

        While described to the public as a Good Design product, “C B Delight” was in fact a

trademark filed by the Debtor on April 17, 2019. Id. at ¶ 51. CBDelight’s Facebook page lists its

telephone number as (215) 268-6071, a telephone number owned, paid for, and utilized by the

Debtor, and staffed by Debtor employees. Id. at ¶ 58. Defendant Culbertson’s LinkedIn page



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states the Polebridge Entities’ “cbDelight product is one of the top selling products in the tri-state

area. . . . Our new Siphon device allows anyone to carbonate any drink with CBD – anywhere – at

a far reduced price point.” Id. at ¶ 53. The “Siphon device” referenced by Defendant Culbertson

constituted or utilized the Debtor’s intellectual property. Id.

       An August 1, 2019 press release states that “Cbdelight (a division of Good Design Inc.)

announced that it has partnered with Pennsylvania-based distributor Nittany Beverage to expand

the brand’s footprint in Pennsylvania. . . . Ashleigh Baldwin, CEO of Good Design Inc., remarked:

‘With Chad Merriweather and Kelli Scozzaro working with Nittany’s seasoned team, we’re going

to hit it out of the park.’” Id. at ¶ 52. At the time of the press release, Ms. Scozzaro and Mr.

Merriweather were full-time employees of the Debtor. Id. An August 23, 2019 presentation

approved by Defendant Casey Parzych to train Debtor sales representatives announced CBDelight

as the Debtor’s top “mission critical” priority. Id. at ¶ 60. A Debtor marketing presentation

featured numerous CBDelight slides emphasizing that the Debtor manufactured, canned, and

delivered the CBDelight product. Id. at ¶ 61.

       The LinkedIn page of John Aguilar—a Debtor account manager from November 2019

through November 2020—emphasizes that, while employed full-time by the Debtor, he

“[d]eveloped, maintained and grew a target account list within Philadelphia market that drove

volume & brand recognition for . . . CBDelight,” and which resulted in a 40% increase in brand

growth for CBDelight. Id. at ¶ 59.

       The Insider Defendants and numerous other individuals (acting at the behest of the Insider

Defendants) regularly used the Debtor’s electronic devices to further the business interests of the

Polebridge Entities via their Polebridge Entities’ email addresses, including: Defendant Casey

Parzych, who also used his Polebridge Entities email address (casey@gooddesigninc.com) to



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conduct Debtor business, including otherwise privileged communications with Debtor’s outside

counsel; Defendant Festa (kellyfesta@gooddesigninc.com); Defendant Culbertson, whose

Polebridge Entities’ email address (rf@gooddesigninc.com) was also listed on the Debtor’s

application    for   a        Paycheck     Protection   Program    loan;    Defendant     Rittenburg

(angus@gooddesigninc.com); Debtor customer service representative Casey Coughlin

(ccoughlin@gooddesigninc.com);             and   Debtor    production      manager      John     Pitts

(john@gooddesigninc.com). Id. at ¶¶ 20, 54-57.

                         b.      Faber Hand Sanitizer

       In March 2020, after the WHO declared COVID-19 a global pandemic and bars throughout

the United States shut down due to government orders, the Insider Defendants caused the Debtor

to manufacture, bottle, and sell hand sanitizer under the Faber brand (“Faber Hand Sanitizer”),

which had been trademarked by the Debtor in 2016. Id. at ¶ 62. As with CBDelight, Faber Hand

Sanitizer was manufactured, packaged, and marketed with Debtor resources, including labor,

material, office and warehouse space for operations, the purchase of additional canning/bottling

equipment, sales services and incentives, marketing services, graphic design services, digital

marketing and advertising services, legal services, intellectual property, and bottling services, with

the profits diverted out of the hands of the Debtor and funneled through the Polebridge Entities.

Id. at ¶¶ 63-64. Numerous agents of the Debtor utilized email addresses associated with Faber

Hand Sanitizer – which they accessed using Debtor computer equipment – to further the business

interests of the Polebridge Entities, including Defendant Baldwin (ashleigh@fabersanitizer.com),

Defendant Culbertson (rf@fabersanitizer.com), and Debtor customer service representative Casey

Coughlin (ccoughlin@fabersanitizer.com). Id. at ¶ 81. Additionally, Kelli Sheehan (who, upon

information and belief, has a familial relationship with Defendant Sheehan), while a full-time



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employee and agent of the Sheehan Entities, utilized the Debtor’s computers to conduct business

relating to the Faber Hand Sanitizer product (kelli@fabersanitizer.com). Id. at 83.

       Defendant Baldwin’s LinkedIn profile lists her former employment as CEO of Good

Design, which she states “makes consumer goods including spirits, sodas and hand sanitizer. We

are registered with the FDA and are currently supplying hand sanitizer to several of the largest

healthcare systems in the U.S.” Id. at ¶ 66. Defendant Baldwin’s profile further states that Good

Design “is a good kind of consumer goods company. We invent and make delightful spirits, sodas

and other consumer products in our own factory in rural Pennsylvania.” Id. Consistent with

Defendant Baldwin’s profile, Good Design’s LinkedIn profile, which prominently depicts bottles

of hand sanitizer bearing the Debtor’s Faber Distilling Co. mark, describes its business as

“[m]anufacturing,” specifically “[m]aking beverages and FDA-approved hand sanitizer for

hospitals, grocery stores, employees and everyday Americans.”            Id. at ¶¶ 65, 68.   These

descriptions are false—the Polebridge Entities had no manufacturing capability, facilities, or

personnel whatsoever, except for that which they pilfered from the Debtor. Id. at ¶ 67.

       Despite the Insider Defendants’ attempts to portray it as a Polebridge Entities product,

beginning on March 26, 2020, the Debtor’s Faber Liquors Instagram page was dominated by posts

advertising Faber Hand Sanitizer. Id. at ¶ 69. A Philadelphia Inquirer article dated April 6, 2020

highlights the Debtor, with no mention of Polebridge or Good Design:

               Bucks County’s Theobald & Oppenheimer[, i.e., the Debtor,] is on
               the opposite end of the spectrum [from a smaller distillery]: The
               second-largest distillery in the state, it made $2 million worth of
               alcohol last year between its two brands, Faber Liquors and Singe
               Prop Rum. Like its smaller peers, Theobald has pivoted to hand
               sanitizer – also using its own bottles – but it can churn it out by the
               pallet.

               “We bought ethanol at 200 [proof] and we get a tanker in a day,”
               said T&O chief financial officer Kelly Festa. “We mix it with

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               hydrogen peroxide and glycerin, and then we run it through the
               bottling lines.”

               The Trumbauersville company has increased the number of
               production shifts and employees. “We’re running three shifts a day,
               seven days a week, trying to get as much out the door as possible,”
               Festa said. “We’re getting orders left and right, from hospitals, the
               U.S. Postal Service, huge supermarket chains, you name it.”

               By the end of March, T&O had filled 167,300 one-liter glass bottles
               with hand sanitizer branded with the Faber Liquors label. . . . At the
               moment, hand sanitizer is all T&O is making.

Id. at ¶ 70.

        On April 9, 2020, immediately following publication of the article in which Defendant

Festa confirmed that Faber Hand Sanitizer was manufactured, packaged, marketed, and distributed

entirely by the Debtor, Defendant Baldwin instructed the Debtor’s sales team to divert the proceeds

from all sales of Faber Hand Sanitizer from the Debtor’s Square point of sale system to

Polebridge’s Square account. Id. at ¶ 71. On April 17, 2020, in the wake of Defendant Baldwin’s

email – which provides irrefutable proof of the Insider Defendants’ conspiracy to steal all payment

due the Debtor for Faber Hand Sanitizer by diverting it to Polebridge, and that, despite the lack of

a formal title or agreement, Defendant Baldwin (who is married to Defendant Casey Parzych)

exercised high level managerial control over the Debtor’s employees – the Debtor issued a press

release again making it clear that Faber Hand Sanitizer was manufactured, packaged, marketed,

and distributed entirely by the Debtor:

               [The Debtor] has shifted production of its high-quality vodkas, gin,
               and rum to the manufacture of hand sanitizer (Faber Hand
               Sanitizer). While many distillers have made similar adjustments,
               Faber has scaled the production of its hand sanitizer to supply
               consumers as well as medical professionals and first responders. . .

               So many people are having trouble securing sanitizer right now. We
               knew we could help by producing an abundant supply, despite
               disruptions in the supply chain,” said Ashleigh Baldwin, Faber’s

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               spokesperson. “When people get their sanitizer from us, they are
               protecting themselves and supporting efforts to help those heroes on
               the frontlines of the COVID-19 pandemic. . . .

               Faber Hand Sanitizer is available in the same one-liter bottles that
               the company has traditionally used to store the spirits that it has
               produced for more than 8 years. The hand sanitizer has less
               viscosity, allowing it to be utilized in spray bottles or with towels to
               help disinfect surfaces.

Id. at ¶ 72; see also id. at ¶ 76 (describing an April 29, 2020 Debtor press release in which

Defendant Baldwin identified herself as a Debtor “spokesperson” and stated that the Debtor was

ramping up its production and distribution of Faber Hand Sanitizer to meet growing demand).

       Similarly, Faber Hand Sanitizer’s Facebook page stated: “we – the team at FABER Liquors

– have shifted our usual operations to produce much-needed hand sanitizer” and lists the telephone

number of Faber Hand Sanitizer as (215) 268-6071, a telephone number owned by, paid for,

utilized, and staffed by the Debtor. Id. at ¶ 73. Faber Hand Sanitizer also utilized the Debtor’s

marketing staff and resources, including the use of advertising mirroring that for Debtor’s liquor

products. Id. at ¶ 82.

       An April 21, 2020 email from Defendant Festa’s Polebridge Entities email account

(kellyfesta@gooddesigninc.com) to the Debtor’s sales managers – via their Debtor email accounts

(@theoandopp.com) – instructed the Debtor’s sales managers yet again to ensure that the Debtor’s

customers made payments by electronic transfer, i.e., ACH or wire, into Polebridge’s bank

account, and not the account of the Debtor, for sales of Faber Hand Sanitizer. Id. at ¶ 75. The

Debtor’s sales representatives also accepted tens of thousands, if not hundreds of thousands, of

dollars in cash payments for Faber Hand Sanitizer, which were diverted from the Debtor for the

benefit of the Polebridge Entities. Id. at ¶ 78.

       A May 12, 2020 email from the Debtor’s outside counsel to a representative of the United



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States Alcohol & Tobacco Tax & Trade Bureau confirms that the Debtor “has converted to hand

sanitizer production and [is] supplying large hospital centers.” Id. at ¶ 78. A June 11, 2020

presentation approved by Defendant Parzych to train the Debtor’s sales representatives lists four

“Mission Critical” products for emphasis to the Debtor’s customers, with Faber Hand Sanitizer

sharing the top spot with Faber liquor (and CBDelight demoted to third place). Id. at ¶ 79. Another

Debtor marketing presentation—entitled “Theobald & Oppenheimer Leadership Brands

Presentation”—featured numerous slides touting Faber Hand Sanitizer and the massive success of

this Debtor product. Id. at ¶ 80.

        Despite being manufactured, marketed, and sold using the Debtor’s resources and

personnel, profits from Faber Hand Sanitizer were diverted to the Polebridge Entities, and

ultimately to the Defendants, with a minimum of $8.8 million of profits attributable to the sale of

Faber Hand Sanitizer and CBDelight stolen from the Debtor and diverted to Defendants. Id. at ¶¶

84-85. On April 17, 2020, Defendant Sheehan made a post to his LinkedIn page advertising Faber

Hand Sanitizer in furtherance of his personal and the Sheehan Entities’ agreement with the Insider

Defendants to share in the ill-gotten profits from the sale of CBDelight and Faber Hand Sanitizer.

Id. at ¶ 74.

               2.      Wynk Seltzer

        In the fall of 2020, Defendants Casey Parzych, Rittenburg and Sheehan used Debtor

resources and personnel to create a cannabis infused beverage known as Wynk seltzer (“Wynk

Seltzer”). Id. at ¶ 86. On September 1, 2020, Defendant Sheehan caused Defendant AgTech VI,

LLC (“AgTech VI”) to file Articles of Organization as a United States Virgin Islands (“USVI”)

limited liability company for the purposes of diverting the profits from the sale of Wynk Seltzer

away from the Debtor. Id. at ¶ 87. On November 25, 2020, Defendant Casey Parzych, as



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organizer, registered American Cannabis LLC as a Pennsylvania limited liability company for the

purposes of diverting the profits from Wynk Seltzer away from the Debtor. Id. at ¶ 88. On April

26, 2021, American Cannabis LLC filed a document with the Pennsylvania Department of State

to change its name to AgTech PA LLC (“AgTech PA”). Id. at ¶ 89. The document was signed by

Defendant Casey Parzych as President of AgTech PA and indicates that it should be returned to

Defendant Festa via the email address kellyfesta@drinkwynk.com. Id.

       As with CBDelight and Faber Hand Sanitizer, the Wynk Seltzer business was facilitated

using Debtor resources, including labor, material, office and warehouse space for operations, the

purchase of additional canning/bottling equipment utilized for the purposes of Wynk Seltzer, sales

services and incentives, marketing services, graphic design services, digital marketing and

advertising services, legal services, intellectual property, and canning services. Id. at ¶ 90. Despite

being manufactured, marketed, and sold using the Debtor’s resources and personnel, all revenues

from Wynk Seltzer flowed to the Wynk Entities1, and ultimately the Defendants. Id. at ¶ 103.

       While Defendants conspired to delete or steal all data on the Debtor’s physical computers

and cloud storage services (as described in greater detail below), forensic analysis of system files

on a Debtor hard drive reveals that, as with CBDelight and Faber Hand Sanitizer, substantial

Debtor resources were diverted for the ultimate benefit of the Wynk Entities. Id. at ¶ 91. Debtor

computers, copiers, and scanners were used to further the business of Wynk Seltzer, including to

access Wynk email addresses belonging to Defendant Casey Parzych (casey@drinkwynk.com and

casey@drinkcannabisusa.com), Defendant Rittenburg (angus@drinkwynk.com), Defendant Festa

(kellyfesta@drinkwynk.com),          Defendant         Culbertson      (rf@drinkwynk.com           and


1
      The “Wynk Entities” are defined in the Complaint as including Defendants AgTech PA
and AgTech VI, along with the entities that own and control AgTech VI, i.e., XO Energy
Worldwide, LLLP, XO EW, LLC, and Canvas 340, LLC. See id. at ¶¶ 21-27.

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rf@drinkcannabisusa.com),          Sheehan       Entities’      employee        Kelli      Sheehan

(kellisheehan@drinkwynk.com), and Debtor customer service representative Casey Coughlin

(ccoughlin@drinkwynk.com). Id. at ¶¶ 92-93. The Wynk Entities regularly ordered supplies for

Wynk Seltzer using the Debtor’s computers, telephone lines, and vendor accounts. Id. at ¶ 100.

The website of the Cannabis Beverage Association features a member page for “WYNK ;)”, listing

its telephone number as (215) 565-5845, a phone number which is listed as belonging to the Debtor

on vendor invoices. Id. at ¶ 99.

       On April 19, 2022, current Wynk Seltzer Brand Manager Casey Coughlin made a LinkedIn

post in which she stated that, on April 19, 2021 (while still a full-time employee of the Debtor),

she was “[w]rapping up Wynk’s 1st mobile production run in Ohio.” Id. at ¶ 94. Debtor credit

card records establish that the Debtor—not the Wynk Entities—paid for the expenses associated

with Ms. Coughlin’s travel to Ohio, along with many other purchases for the sole benefit of the

Wynk Entities and the Wynk Seltzer product. Id. at ¶¶ 95-96. Indeed, in the Summer of 2021,

numerous invoices were billed to the Debtor yet either explicitly stated that they were for purposes

related to Wynk Seltzer or called for deliveries to 2512 Quakertown Road, Pennsburg,

Pennsylvania (“2512 Quakertown Road”), an address which was never disclosed by the Debtor as

part of its operations, and which is listed as Wynk’s address on the website of the Cannabis

Beverage Association. Id. at ¶¶ 98-99.

       In an email dated June 15, 2021, a representative of Classic Staffing Services, Inc. – a temp

agency paid for by the Debtor – stated that she “was instructed to reach out for all matters related

to Faber to Jack Blobe from Drink Wynk. I was told he would be the contact going forward and

that Drink Wynk, Theo and Opp, and Faber were one and the same.” Id. at ¶ 102. Mr. Blobe’s

LinkedIn profile states that he was a full-time employee of the Debtor from May 2020 through



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September 2021 and a full-time employee of the Wynk Entities from May 2021 through February

2022. Id.

       C.      Defendants Conspire to Utilize the Bankruptcy Process to Defraud the
               Debtor’s Creditors

       Defendants attempted to mask their wrongdoing by creating invoices, tax forms, and other

documents to feign an arm’s length relationship between Debtor, the Polebridge Entities, and the

Wynk Entities. Id. at ¶ 104. The documents were phony and a sham—as they failed to fully and

accurately describe and account for Debtor resources being devoted to the sole benefit of the

Polebridge Entities, the Wynk Entities, and, ultimately, the individual Defendants.             Id.

Defendants’ scheme was designed to hide the fact that they were extracting millions of dollars of

value out of the Debtor, to place it beyond the reach of Debtor’s creditors. Id. at ¶ 105.

         Due to Defendants’ diversion of Debtor resources and profits to the Polebridge Entities,

the Wynk Entities, and their principals and affiliates, the Debtor was unable to pay its debts and,

on February 28, 2021, defaulted on the PNC loan. Id. at ¶ 106. Under scrutiny but not wanting to

abandon their profitable scheme, Defendants conspired to have Defendant Sheehan utilize his

complex network of wholly-owned USVI entities – i.e., the Sheehan Entities – to further defraud

the Debtor and its creditors. Id. at ¶¶ 44, 107. To this end, Sheehan Entities employee (and

Defendant Sheehan relative) Kelli Sheehan and Sheehan Entities CFO John Charette, despite being

full-time employees of the Sheehan Entities, maintained accounts on the Debtor’s computer system

and had full access to the books, records, and online accounts belonging to the Debtor. Id. at ¶

108.

       Defendants first attempted to have certain of the Sheehan Entities either purchase PNC’s

debt or purchase the Debtor’s business assets outside of bankruptcy. Id. at ¶ 109. The

contemplated transactions were not arm’s length and were closely coordinated among the

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Defendants, with Defendants Casey Parzych and Sheehan leading the scheme. Id. at ¶ 110. The

coordination between the Debtor and the Sheehan Entities was so egregious that the Debtor’s

outside counsel admonished Defendants Casey Parzych, Culbertson, Boyer, and Festa in a

January 18, 2021 email:

               [I]t’s very unusual and inadvisable to be including [Sheehan
               Entities’ attorney] Carey Drangula and [the Sheehan Entities
               referred to as] X/O on all of these emails [concerning the Sheehan
               Entities acquiring the Debtor or its assets]. There is no privilege.
               She and X/O are an adverse party in these negotiations, particularly
               now that another party . . . is in the mix. You again must treat this
               as an arm’s length transaction for the ultimate maximum benefit of
               the Company between two equal suitors or you are going to get
               yourselves in trouble. I would not advise continuing to seek her
               legal counsel or X/O’s approval on anything. I would also keep
               confidential communications within this team unless or until a deal
               is made. Any indication that you have favored X/O or have been
               providing them access or information that you have not provided to
               [the other potential purchaser] or other suitors has the potential to
               become fodder for litigation. X/O and [the other potential
               purchaser] are competitors and we must treat them as such.

Id. at ¶ 111. Defendants Casey Parzych, Culbertson, Boyer, and Festa did not follow counsel’s

advice and continued to present the Debtor to other potential purchasers as unfavorable in the hope

of steering the business to the Sheehan Entities at less than fair value. Id. at ¶ 112.

       That plan failed and Defendants pivoted to a bankruptcy alternative, which included an

effort to sell the business on the cheap to the Sheehan Entities through a Section 363 sale or, if that

failed – via a web of entities doing business as “Best Bev” and/or “Can Man” and referred to in

the Amended Complaint as the “Best Bev Entities”2 – through outright theft of the Debtor’s



2
       The “Best Bev Entities” are defined in the Complaint as including Defendants Can Man
LLC and Best Bev, LLC, both of which do business as “Best Bev” and operate out of a location
at 2512 Quakertown Road, as well as EtOH Worldwide LLC, XO Energy Worldwide, LLLP,
and XO EW, LLC, entities which ultimately own and control Best Bev, LLC. Id. at ¶¶ 28-33,
117, 125.

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property and resources. Id. at ¶ 113. Attorney time entries filed with this Court in support of

certain of the Sheehan Entities’ attorneys’ application for allowance of a purported “expense

reimbursement” establish the essential role of the Sheehan Entities in the scheme, indicating that,

as of at least April 8, 2021, the Sheehan Entities were conspiring with the Debtor Defendants to

formulate the Debtor’s bankruptcy strategy. Id. at ¶ 114. Defendant Sheehan (using his Sheehan

Entities email address, ssheehan@xo-energy.com, and his Wynk Entities email address,

shawn@drinkwynk.com) and Sheehan Entities CFO John Charette (using his Wynk Entities email

address, johncharette@drinkwynk.com) were copied on otherwise privileged emails between the

Debtor, its bankruptcy counsel, and/or its accountants concerning the Debtor’s bankruptcy

strategy. Id. at ¶ 115. Defendants Sheehan and Casey Parzych jointly retained Washington D.C.-

based public relations firm kglobal to direct marketing strategies in light of Debtor’s bankruptcy

and Sheehan’s anticipated takeover of Debtor’s assets. Id. at ¶ 116.

                1.      The Debtor Diverts Assets to the Best Bev Entities Pre-Bankruptcy

        On May 3, 2021, just over a month before the Debtor’s bankruptcy filing, Can Man, LLC

(“Can Man”) was formed as a Pennsylvania limited liability company with Debtor’s outside

counsel acting as organizer. Id. at ¶ 117. Can Man’s registered office was originally listed as 2600

Milford Square Pike, Quakertown PA 18591 (“2600 Milford”), but changed on September 30,

2021 to 2512 Quakertown Road, the same address used by the Wynk Entities. Id. All activity

taking place at 2600 Milford, 2512 Quakertown Road, and 300 Commerce Drive, Quakertown,

PA (“300 Commerce”) was for the benefit of Can Man, the other Best Bev Entities, and the other

Pilfering Entities.3 Id. at ¶ 118.



3
        The Complaint defines the “Pilfering Entities” as the combination of the Polebridge
Entities, the Wynk Entities, and the Best Bev Entities. Id. at ¶ 38.

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       In May 2021, Defendants caused the Debtor to transfer a Hamrick Recaser machine with

an estimated value of $145,000 to 2512 Quakertown Road for use by the Pilfering Entities. Id. at

¶ 119. On May 6, 2021, Casey Coughlin – who identified herself on her LinkedIn page as an

employee of the Debtor and Wynk – posted the following to her facebook page: “Hiring spree!

Beverage production in Quakertown (don’t sleep on it) at Faber Distilling. . . . Signing bonus,

referral bonus, bonus for breathing. Name your bonus.” Id. at ¶ 120. Upon information and belief,

Ms. Coughlin’s hiring efforts – while ostensibly made on behalf of the Debtor – were intended to

benefit the Pilfering Entities, as a company on the verge of a bankruptcy filing would likely not

make such extraordinary hiring expenditures. Id. at ¶ 121.

       On June 1, 2021, despite knowing that the Debtor’s bankruptcy filing was imminent,

Defendant Casey Parzych, acting on behalf of the Debtor, executed a Consulting Services

Agreement with DPG Management, LLC (“DPG”) under which DPG was to provide human

resources consulting services more fully described in a proposal dated May 20, 2021. Id. at ¶ 122.

The May 20, 2021 DPG proposal, while addressed to the Debtor, is entitled “Wynk – Proposal,”

and provides for comprehensive human resources programs and assessments which would be of

no use to a company about to file for bankruptcy. Id. at ¶ 123. The services provided by DPG,

although contracted and paid for by the Debtor, were used by Defendants to benefit the Pilfering

Entities. Id.

       On June 14, 2021, Defendants Festa and Uszenski utilized the Debtor’s computer

equipment and email system to create and edit a Word document titled “Can Man Shadow

Structure,” which depicted a corporate structure under which Can Man would own Faber and all

the Debtor’s other brands and operate out of a headquarters located 2512 Quakertown Road. Id.

at ¶ 124. On June 13, 2022, Best Bev, LLC was formed as a United States Virgin Islands limited



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liability company. Id. at ¶ 125. Best Bev, LLC is either the successor in interest to Can Man or

was created by Defendants to avoid liability for misconduct on the part of Can Man, which at all

times relevant hereto operated using the name “Best Bev.” Id.

               2.      Defendants Interfere with the Debtor’s Section 363 Sale

       On June 3, 2021, Defendants Casey Parzych and Rittenburg signed a Joint Resolution of

the Managers and Majority In Interest of Members of the Debtor declaring that the Debtor was

insolvent and unable to pay its debts as they mature and authorizing the filing of a voluntary

petition under chapter 11 of the Bankruptcy Code. Id. at ¶ 127. On June 1, 2021, immediately

before execution of the joint resolution, the Debtor, on the one hand, and Defendants EtOH

Worldwide, LLC and AgTech VI, LLC, on the other, executed Equipment Lease Agreements. Id.

at ¶ 128. The Equipment Lease Agreements were sham documents designed to create false

administrative claims that would accrue during the Chapter 11 Case but would never be paid. Id.

at ¶ 129. Indeed, based on the lease payments that were accruing, the Debtor over a two-year term

would pay well more than double the original cost of the equipment. Id.

       In a letter dated June 10, 2021, Defendant Sheehan, writing as President of Defendant

EtOH Worldwide, LLC, sent a letter (the “Sheehan Letter”) to coerce PNC into cooperating with

a Section 363 sale of the Debtor’s assets to the Best Bev Entities at a low-ball price. Id. at ¶ 130.

While signed only by Defendant Sheehan, the letter was drafted by Sheehan, counsel for Sheehan

and the Best Bev Entities, and the Debtor’s bankruptcy counsel. Id. It states in pertinent part:

               EtOH has evaluated MMD, [i.e., the Debtor,] including the collateral
               pledged to PNC, and concluded that the remaining value of its
               business, however slight, is as an ongoing concern. As soon as
               MMD is reduced to its assets, the value of the business will
               plummet. The equipment that was pledged to PNC has significantly
               diminished in value and is almost inextricably integrated into the
               building in which it has housed. . . . EtOH’s acquisition of MMD’s
               assets will be the only viable path forward, and this path will require

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                PNC to reset its expectations for several reasons.
                                                  ***
                Without EtOH as a counterparty, MMD will shutter its operations in
                Trumbauersville, leaving 80 employees jobless in a small rural town
                in Pennsylvania. PNC will be left with virtually unsaleable
                equipment, and, in the face of Casey Parzych’s personal bankruptcy,
                a meaningless guaranty. EtOH is aware of certain additional
                complicating factors that will only frustrate PNC’s attempts to
                recoup value from MMD’s assets . . . .
                                                  ***
                The landlord of the leased premises[, i.e., 2300 Trumbauersville
                Road, which was leased by Defendant Finland Leasing to the
                Debtor,] is the father of MMD’s majority Unit Holder; it is solely
                because of this relationship that the landlord has not pursued a
                default claim for nonpayment of rent under the lease. . . . [T]he
                landlord is unwilling to relet the premises to an unknown third party
                (including PNC or its eventual assignee) and nothing could compel
                him to do so. Without a lease at these premises, the distilled spirits
                production permits . . . will be immediately revoked.

Id.
       Consistent with Defendant Sheehan’s letter, on the Petition Date, the Debtor filed a motion

seeking approval of a sale under Section 363 of the Bankruptcy Code (the “Sale Motion”). Id. at

¶ 131. The Sale Motion proposed to sell the Debtor’s assets to Defendant EtOH Worldwide, LLC,

and failed to disclose the extent of the relationship between the Sheehan Entities and Debtor

insiders. Id.

       In the run up to the Section 363 sale, Defendant Gary Parzych (Defendant Casey Parzych’s

father) advised potential buyers that he would not allow anyone other than the Sheehan Entities to

lease the 2300 Trumbauersville Road property, nor would he permit a transition period for a buyer

to find a new location for the operations in that building. Id. at ¶ 132. Gary Parzych further stated

that he was only willing to allow the Sheehan Entities to occupy the building because his son,

Defendant Casey Parzych, was part of their organization. Id. On July 22, 2021, the Debtor caused

a document to be posted to the Section 363 sale data room which stated that the 2300


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Trumbauersville Road “lease is expired. All batching and bottling equipment that is currently

stored in this building needs to be immediately removed from the premises upon completion of

the sale. New distilled spirits plant license [sic] will then have to be obtained as all current licenses

are tied to 2300 Trumbauersville Road.” Id. at ¶ 133. The chilling impact of this sudden revelation

was well-summarized in a July 22, 2021 email from PNC’s counsel to the Debtor’s bankruptcy

counsel: “If the Stalking Horse is getting favored (undisclosed) treatment for this lease by virtue

of this property being owned by Casey’s father – and other potential bidders will not be afforded

similar treatment or even told they can negotiate with Finland – this is highly inappropriate. . . .

It’s looking more and more like [Debtor] MMD is designing this sale to overwhelmingly favor

ETOH (in a sale that no doubt will benefit Casey personally) – a clear violation of MMD’s

fiduciary obligations.” Id. at ¶ 134; see also id. at ¶ 135 (PNC’s counsel again expresses concern

about “management’s favoritism to ETOH,” stating that it “seems like management is doing

everything it can to make this business look unattractive to third parties”). Other potential bidders

informed PNC’s counsel that they were dropping out because the Insider Defendants were

attempting to rig the sale in favor of the Sheehan Entities. Id. at ¶ 136.

        On July 26, 2021, Kevin Callahan, counsel to the United States Trustee, held a Section 341

meeting at which Defendant Casey Parzych testified under penalty of perjury, inter alia, that the

Debtor had no relationship with Wynk Seltzer. Id. at ¶ 138. This testimony was willfully false.

Id. That same day, a creditor which participated in the meeting emailed Attorney Callahan,

forwarding an email from a representative of Classic Staffing Services, Inc. (stating that a Debtor

representative told her that “Drink Wynk, Theo and Opp, and Faber were one and the same”), and

pointing out that it establishes the “opposite of what [Defendant Casey Parzych] testified [to] on

today’s call re: DrinkWynk’s relationship to Midnight Madness.” Id. at ¶ 139. PNC’s counsel



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confirmed that numerous Debtor employees were simultaneously working for the Wynk Entities.

Id. at ¶ 140.

        On August 6, 2021, in response to questioning from Attorney Callahan, the

Debtor represented that:

                The debtor does not now and never has provided services to any
                companies for the purpose of unlawfully manufacturing, storing,
                distribution, or using a controlled substance as defined under federal
                law.

                The debtor has no knowledge of a company called DrinkWynk.
                Wynk seltzer is a product.

                Casey Parzych is the sole member of AgTech PA LLC (“AgTech”).
                Agtech contracts with different cannabis processors to produce
                Wynk seltzer. None of the debtor’s assets (including but not limited
                to the collateral of the PNC Loans) are currently used by or in the
                business operations of AgTech nor have they ever been used by or
                in the business operations [sic] AgTech. AgTech lawfully provides
                services to cannabis companies using assets that are not and never
                were owned by the debtor.

Id. at ¶ 141. This statement, like Defendant Casey Parzych’s testimony at the Section 341 meeting,

is demonstrably false given the numerous instances described in the Amended Complaint of the

Wynk Entities using the Debtor’s equipment, facilities, and employees. Id. at ¶ 142; see also, e.g.,

id. at ¶ 86 (Wynk cannabis seltzer created by Defendants Parzych, Rittenburg, and Sheehan

using Debtor resources and personnel), ¶ 90 (Wynk Seltzer business operated using Debtor

resources), ¶¶ 94-95 (Debtor employee conducts activities for Wynk Seltzer out of state with all

expenses paid for by the Debtor), 102 (Debtor informs its temp agency that it is “one and the

same” as Wynk).

        In an email string dated August 16 & 17, 2021, counsel for PNC complained to the Debtor’s

bankruptcy counsel that:


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           Counsel for New Liberty[, a division of Millstone Spirits Group,
           LLC (“Millstone”),] reached out to advise that she spoke with
           Casey’s father [Defendant Gary Parzych] (principal of the landlord
           for 2300 Trumbauersville Road) and was told in no uncertain terms
           that he will not accommodate anyone other than [Defendant] ETOH
           with respect to either a new lease or even transition time for a new
           buyer to find a new location for the operations in that building. He
           told her that he is only willing to allow ETOH [to] occupy the
           building because his son is going to be involved with them going
           forward. All he will offer a new buyer is 30 days, which New
           Liberty’s counsel tells me is not enough time to transition; they need
           at least 90 days. At the same time, he is offering ETOH (as the
           stalking horse) much more than that – because he knows that
           [Defendant] Casey [Parzych] will be involved with that enterprise.

           Needless to say, this is concerning and contrary to representations
           made by Casey and ETOH (including representations made by
           Casey under oath). Casey’s recent declaration said that his father
           was willing to discuss arrangements with other bidders and that
           there is no formal or informal agreement between ETOH and
           Finland regarding the premises. Casey has also sworn (and your
           firm has represented) that there is no agreement – informal or
           otherwise – between Casey and ETOH regarding his ongoing
           involvement with the business. It’s very obvious to anyone paying
           attention that that simply isn’t true. Casey’s father pretty much
           confirmed it today with New Liberty’s counsel.

           This also reeks of continuing collusion among Casey, ETOH and his
           father. As estate fiduciaries, both Casey and your firm should
           welcome the participation of New Liberty. We therefore implore
           you and [Debtor attorney] Harry to address this immediately with
           Casey and his father. Casey’s father – as a debtor insider – cannot
           favor ETOH over other potential bidders because of his son’s
           business relationship with ETOH (current or future). That is the
           very reason why relatives of debtor insiders are themselves
           considered debtor insiders.

                                           ***

           Casey has been less than forthcoming with everyone (including your
           firm) about the extent of his and his family’s relationships with the
           stalking horse – disclosing things only when they’re called out by
           others. Given these prior issues, questions need to be asked and

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                information verified – and it is not my practice to blindside opposing
                counsel by simply raising issues at a hearing.

                All PNC wants is a fair auction process that puts bidders on
                somewhat equal footing and does not give ETOH an inside
                advantage because of [Defendant] Shaun Sheehan’s other business
                relationships with Casey.

Id. at ¶ 143.

        On or about August 25, 2021, Millstone placed a winning bid at the Section 363 auction

for an approximate price of $1.4 million and agreements to assume certain contracts and pay

certain administrative expenses. Id. at ¶ 144. Due to the Defendants’ misconduct as alleged herein,

the price paid by Millstone for the Debtor’s assets was less than it would have been had the Section

363 sale been conducted on a level playing field. Id. at ¶ 145.

        Documents filed with this Court by Millstone for the purposes of objecting to the Sheehan

Entities’ requests for allowance of expense reimbursement aptly summarize the chilling effect of

the Defendants’ misconduct on the bidding at the Section 363 auction and the inextricable

intertwinement of the Debtor, the Sheehan Entities, and the Wynk Entities:

                [t]he Stalking Horse bid[, i.e., the Sheehan Entities’ collusive initial
                bid for the Debtor’s assets,] did not serve as a catalyst for additional
                bids. The mere fact that the Stalking Horse bidder was an insider of
                the Debtor with intimate and preexisting knowledge of the assets to
                be sold, and that Finland Leasing (the Debtor’s landlord for 2300
                Trumbauersville Road and Casey Parzych’s father) made clear he
                would only lease to [Sheehan Entity] ETOH, certainly dissuaded
                true third party purchasers. Millstone was the only bidder at the
                auction other than ETOH and PNC, and even then, the Debtor
                attempted to prevent Millstone from bidding by announcing, at the
                auction with no advance warning, that the Debtor would not
                consider the bids apples-to-apples unless Millstone agreed to pay
                ETOH’s administrative expense claim. If ETOH’s insider status
                wasn’t . . . enough to chill bidding, the Debtor’s overwhelming
                support of the Stalking Horse surely did. . . . ETOH had unfettered
                access to information regarding the valuation of the Debtor’s assets
                and its business operations for months, if not longer, before the
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                bankruptcy was filed.

                                               ***

                The [Sheehan Entities’] and the Debtor’s businesses and
                management have been inextricably [i]ntertwined since well before
                this bankruptcy case was filed[.] . . . The [Sheehan Entities] are
                insiders of the Debtor, . . . [and] the transactions resulting in the
                [Sheehan Entities’] request for an administrative claim were not
                arms-length[.] . . . Millstone submits that the invoices for many of
                the parts associated with [equipment which is the subject of the
                aforementioned sham lease agreements between the Sheehan
                Entities and the Debtor] demonstrates the [Sheehan Entities’] insider
                relationship. For example, several of the invoices that appear to be
                for pieces of the Leased Equipment were billed to “Kelly Festa, Etoh
                Worldwide.” . . . Ms. Festa was, at all relevant times, the Debtor’s
                chief operating officer. Other invoices reflect equipment that was
                billed and shipped to a company called “American Cannabis”
                located at the Debtor’s business address and “ordered by Kelly
                Festa.” . . . While the Debtor was never in the business of cannabis
                production, the venture formed by Debtor’s members, Casey
                Parzych and Angus Rittenburg, with the indirect owner of the
                [Sheehan Entities], Shawn Sheehan, were in that business, through
                their “Wynk” business. Yet other invoices [pertaining to equipment
                used by the Wynk Entities] were billed directly to “Theobald &
                Oppenheimer,” the dba used by the Debtor.

Id. at ¶ 147.

                3.     The Section 363 Sale Did Not Include the Trustee’s Claims

        On September 15, 2021, this Court held a hearing on the Debtor’s motion to sell certain of

the Debtor’s business assets pursuant to Section 363 (Bankr. D.I. 4). At the hearing, counsel for

Millstone stated as follows:

                MS. JEFFERSON [counsel for Millstone]: Your Honor, the final
                objection is the objection filed by the United States Trustee, at
                docket 140. There were a number of issues raised in that objection
                ....

                      The first being a concern regarding the sale of the Debtors
                Chapter 5 causes of action. . . .

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                        Section 1.01k of the Asset Purchase Agreement, and decretal
               paragraph 10 of the Sale Order, limit the Chapter 5 causes of action
               being sold to the buyer to those actions against the Buyer, its
               affiliates, and the holder of any assumed liability. There should not
               be any cause of action against the Buyer or its affiliates, because
               they had no prebankruptcy business relationship with the Debtor.
               The holder of the assumed liabilities is a very limited list. And I
               think it is entirely normal and appropriate that a buyer requests that
               the parties it intends to do business with going forward not be
               potentially rendered insolvent by a cause of action.

See Ex. A4, Bankr. D.I. 189 at 18:19-19:15. Counsel for the Debtor and the United States Trustee

agreed with Ms. Jefferson’s statement. Id. at 22:2-7, 9-10, 20-24. In describing the marketing of

the assets which were being sold, counsel for the Debtor represented that

               [William F.] Comly [and Son, Inc.] . . . prepared and implemented
               a marketing program to promote the sale of the assets. And as
               reference to that there is Exhibit 5, which is the Comly exhibit of the
               marketing material, which is essentially a list of . . . Comly’s
               expenses, as well as a copy of the ad and the brochure. The prices
               are not relevant. What is relevant is the different activity and the
               nice little glossy picture there, with the assets.

Id. at 39:20-40:3.

       Counsel’s presentation led to the following inquiry from this Court:

               THE COURT:            . . . So, the Debtor is selling this real estate,
               equipment, and the entire business, correct?

               MR. BURNETT [Debtor’s counsel]:             Basically, yes, Your
               Honor. Obviously, the . . . purchased assets are specifically listed,
               but essentially that is correct.

               ***

               THE COURT:             . . . And the Chapter 5 issue that Mr. Callahan
               raised, related to claims against the purchaser or their affiliates,
               correct?


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        References herein to “Ex. __” refer to the exhibits to the Declaration of Andrew J. Belli,
being filed contemporaneously herewith.

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               MS. JEFFERSON: That is correct, Your Honor. And that is
               Section 101k of the Asset Purchase Agreement, and decretal
               paragraph 10 of the Order, that makes very clear that the only
               Chapter 5 causes of action being sold to the Buyer relate to those
               claims that would be against the Buyer, its affiliates, and the holders
               of assumed liabilities. So, a very limited universe of parties.

               THE COURT:              Are there any other Chapter 5 claims?
               Because I think Mr. Callahan was satisfied there aren’t any claims
               under 547, 548, are [sic] any of those things? And if they are, they
               are not being sold, if they are, correct?

               MS. JEFFERSON: Correct. There . . . may be some. They will
               remain with the estate.

               THE COURT:             Okay. Okay.

               MR. BURNETT:           Correct.

Id. at 44:2-7, 59:2-19.

       On September 17, 2021, this Court approved the sale of the Debtor’s business assets to

Millstone, entering an order (the “Sale Order”) which approved of and attached the Asset Purchase

Agreement (“APA,” Bankr. D.I. 178 at ECF pages 19-61) between the Debtor and Millstone. See

Bankr. D.I. 178. Paragraph 10 of the Sale Order (referenced during the sale approval hearing as

set forth above) makes it clear that the only causes of action being transferred to the Buyer are

those which are against the Buyer, its affiliates, or any holder of an Assumed Liability:

               At the closing of the Sale Transaction, to the extent provided by the
               Asset Purchase Agreement (and not identified as an Excluded
               Asset), all of the rights, claims or causes of action of the Debtor or
               its bankruptcy estate against the Buyer, its affiliates or any holder of
               an Assumed Liability, including any Claims and causes of action
               arising under Chapter 5 of the Bankruptcy Code or any similar Law
               against such older of an Assumed Liability, shall be assigned, sold
               and transferred to Buyer, free and clear of all liens, claims,
               encumbrances and interests, and Buyer shall have standing and
               authority to assert such rights, claims and causes of action.

Id. at ¶ 10 (ECF page 10 of 61). Section 101(k) of the APA, also referenced during the sale



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approval hearing, similarly transfers “any claims or causes of action the Seller or its bankruptcy

estate have, had, or may have against Buyer or any of its affiliates, or any holder of an Assumed

Liability, including, without limitation, any claims or causes of action pursuant to Sections 544,

547, 548, 549, or 550 of the Bankruptcy Code[.]” Id., APA at ¶ 1.01(k) (ECF page 25 of 61).

                4.     Defendants Operated the Debtor in Possession As An Extension of the
                       Pilfering Entities, And Continued to Do So After the Section 363 Sale

        While operating the Debtor in Possession (the “DIP”), Defendants caused the DIP to make

numerous transfers and incur debts from which the Debtor derived no benefit, and which went to

the sole benefit of the Best Bev Entities and the other Pilfering Entities. Amended Complaint at ¶

148. Defendant Casey Parzych made the Debtor’s bankruptcy counsel aware of his plan to steal

Debtor assets and divert business to the Best Bev Entities, prompting counsel to send him the

following email on August 31, 2021:

                Casey, as a follow up to our conversation, I want to reiterate that our
                strong advice is for you and MMD to at all times act in good faith to
                take all actions to preserve and protect the assets, business,
                customers, contracts, relationships, etc of MMD and to deliver to the
                winning bidder at the auction--- Millstone--- the assets that they
                contracted to purchase so that their expectations for the transaction
                that they bargained for will be consummated at the closing. Doing
                anything less, would contradict our advice could subject you (and
                maybe others) to significant legal issues and concerns. One
                particular issue of note is that you could be found personally liable
                for failure to uphold your fiduciary duty to MMD and its creditors
                and such personal liability could be deemed non-dischargeable
                (even if you filed a Chapter 7) see, for example Section 523(a)(4) of
                the Bankruptcy Code.

Id. at ¶ 149.

        While the Trustee’s effort to fully account for transfers made by the Debtor for the benefit

of the Best Bev Entities has been hampered by Defendants’ intentional destruction of Debtor

records, the Trustee lists a number of specific such transfers in the Amended Complaint (the “Post

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Petition Best Bev Transfers”). See id. at ¶ 150. Defendants intentionally sabotaged the Trustee’s

efforts to determine the full extent of goods and services paid for by the Debtor but used for the

sole benefit of Best Bev or the other Pilfering Entities. Id. at ¶ 152. For example, Defendant Festa

instructed vendors to falsely state that Debtor orders were being delivered to the Debtor’s facilities

when they were actually delivered to Best Bev at 2512 Quakertown Road. Id.

       Shortly before the Millstone acquisition was set to close, the Insider Defendants falsely

informed Debtor employees that they would be meeting with Millstone representatives, but instead

arranged a meeting with agents of the Best Bev Entities, who requested that Debtor employees

sign a document stating their intention to work for Best Bev. Id. at ¶ 153. The employees were

then told to take the week off, which allowed Defendants to remove several pieces of large

equipment from the Debtor for the benefit of the Best Bev Entities. Id.

       On or about September 21, 2021, prior to the Millstone sale closing, the Insider Defendants

intentionally deleted, wiped, or stole all the Debtor’s electronic data and cloud computing drives,

both to hinder Millstone from competing with Defendants’ Best Bev enterprise and to hinder any

investigation into Defendants’ misconduct. Id. at ¶ 154. While Defendant Festa testified at a

Section 341 meeting that she inadvertently deleted the Debtor’s data while trying to transfer it to

Millstone, this testimony is contradicted by numerous facts, including: a) due to standardized

safeguards and warnings issued by the Debtor’s cloud provider prior to mass deletion of data, and

a thirty day hold period during which deleted data can be recovered, it is highly improbable that

all of the Debtor’s email and electronic data could be inadvertently destroyed; b) in addition to

data stored on cloud services, the Debtor’s computers were wiped of meaningful data prior to their

transfer to Millstone; c) a forensic analysis conducted by Millstone indicated that the data was not

destroyed, but instead transferred; and d) in discussions which occurred after the supposed deletion



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of data, Defendant Festa was able to retrieve specifically requested electronic documents

belonging to the Debtor, but only after reporting that she had to ask for permission to do so. Id. at

¶ 155. Defendant Festa sought “permission” from Defendants Casey Parzych and Sheehan, who

ordered the deletion/transfer of the Debtor’s data in the first instance. Id.

        On September 27, 2021, Millstone’s counsel reported to the Debtor’s counsel that

Defendant Parzych told Debtor employees not to come to work, that the Debtor had not been

fulfilling customer orders, that “Faber products are out of stock in basically every store,” and that

there was no backlog of inventory or glass bottles at the Debtor’s premises. Id. at ¶ 156. This was

because Defendants: a) encouraged the Debtor’s former employees to work for the Best Bev

Entities instead of Millstone; b) were fulfilling the Debtor’s customer orders for the benefit of the

Best Bev Entities instead of the Debtor; and c) were using the Debtor’s inventory and equipment

to produce large amounts of product for use by Best Bev. Id. The Debtor’s large raw materials

purchases and hiring spree in the months preceding the Millstone closing also support the inference

that millions of dollars’ worth of DIP property was improperly diverted to the Best Bev Entities.

Id. at ¶ 157.

        Defendants lied about the true nature of their supposedly new enterprise, informing

customers that Best Bev was simply a continuation of the Debtor. Id. at ¶ 158. For example, an

October 7, 2021 text message from Defendant Culbertson to a former customer of the Debtor stated

that the Defendants had “re-formed” the Debtor “and quickly started [manufacturing] & co-

packing 500,000 cans/bottles per day.” Id. at ¶ 159. Culbertson’s text message further offered to

“save you at least 14% OFF your current prices,” with the “current prices” being a reference to the

Debtor’s prices, and with the discount made possible only because Defendants had been stealing

the Debtor’s personnel, equipment, and inventory for use by Best Bev. Id. at ¶ 160. Defendants



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sent similar text messages to hundreds of the Debtor’s former customers, using customer lists

which they stole from the Debtor. Id. at ¶ 161.

        An October 11, 2021 email from counsel to Millstone to Debtor’s bankruptcy attorneys

reports:

                [b]ased on . . . conversations our sales guys are having with [former
                Debtor] customers, [Defendant] Casey [Parzych] and [Defendant]
                RF [Culbertson] are holding themselves out to customers as “Faber”
                and saying the[y] “re-formed” the business.

                I am also getting invoices from other [Debtor] vendors who say they
                haven’t been paid in months, and that [Defendant] Kelly [Festa]
                recently asked them to make edits to invoices before they sent them
                to us to make it look like the goods were shipping to [the Debtor] at
                118 N. main Street (when the original invoice says they were
                shipping to CanMan at 2512 Quakertown Road).

Id. at ¶ 162.

        On October 12, 2021, Defendants made their first post to the wellrebellion Instagram

account. Id. at ¶ 163. Well Rebellion was the new name for the liquor product Defendants

manufactured and bottled using Debtor resources and employees. Id. Defendants subsequently

began manufacturing, marketing, and selling the Well Rebellion product using stolen Debtor

equipment as well as the Debtor’s supposedly deleted internal data. Id. at ¶ 164. Certain of the

Defendants, including Defendants Festa and Culbertson, utilized custom Well Rebellion flyers

which included their cell phone numbers to market the product for the benefit of Best Bev. Id. at

¶ 165. The flyers were created using the Debtor’s marketing files, but with the Faber brand name

replaced with the Well Rebellion name. Id.

        Prior to and after the closing of the sale of the Debtor’s assets to Millstone, the Defendants

utilized the Debtor’s phone.com account for the benefit of Best Bev, returning calls to Debtor

customers who placed orders for Faber products, and instead selling them the corresponding Best


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Bev products. Id. at ¶ 166. On October 18, 2021, Drifter Spirits emailed Millstone concerning a

meeting that Drifter Spirits had that day with “Midnight Madness,” the Debtor; in reality, the

Defendants had set up a meeting between Drifter Spirits and Best Bev under the guise that Best

Bev was a mere continuation of the Debtor. Id. at ¶ 167.

       In an October 20, 2021 report, a Millstone sales manager complained that Defendants were

using the Faber brand name in communications with the Debtor’s former customers and were

causing the customers to think that Best Bev was simply a continuation of the Debtor:

               All of our customers are still very confused and getting daily
               constant texts/calls/emails from BestBev claiming to be us and
               asking for their ‘Faber well order’. . . . They hired a team of reps +
               call center with 5 people non stop calling our customers working
               phones + email off our old customer lists. Many of our customer
               are telling me they call them, text them, and email them multiple
               times a day after they told them to please please stop.

Id. at ¶ 168. On November 1, 2021, a Millstone sales manager reported that the Best Bev Entities

“are continuing to spam all of our customers direct cell phones with texts and calls” and that the

customers were confused as to whether the Debtor and Best Bev were separate entities. Id. at ¶

169.

       In the fall of 2022, Defendants caused Best Bev to join the Upper Perkiomen Valley

Chamber of Commerce, stating that, “[a]fter years of dreaming up, canning and distributing our

own beverages, we have expanded our universe . . . [and] have the space to do it all at our new

100,000+ sf facility centrally located just outside Philadelphia,” i.e., 2512 Quakertown Road. Id.

at ¶ 170. The reference to “years of dreaming up, canning and distributing our own beverages” is

an obvious reference to the Debtor, and yet another indication that Defendants treated the Debtor

and Best Bev as one and the same. Id. To this day, Defendants and the Best Bev Entities benefit

from their theft of Debtor resources. Id. at ¶ 171.


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       D.      The Insider Defendants’ Utter Failure To Maintain Internal Controls

       At all times material hereto, the Insider Defendants caused the Debtor to fail to comply

with the most basic principles of corporate governance and internal controls. Id. at ¶ 172. This

failure was intentional, particularly with respect to the Debtor’s accounting, as it allowed

Defendants to freely pilfer the Debtor for the benefit of the Pilfering Entities, with substantial ill-

gotten gains flowing to the individual Defendants. Id. at ¶ 173. A May 10, 2021 letter from the

Debtor’s outside accounting firm addressed to the Debtor’s Board of Directors and Members of

the Debtor and its related entities reported the complete failure of the Debtor’s accounting function

as “cause for substantial concern because management cannot rely entirely on the accuracy of

internally prepared financial statements.” Id. at ¶ 174.

       The Insider Defendants, with the active involvement and under the instruction of Defendant

Sheehan, grossly mismanaged the Debtor’s Chapter 11 Case by, among other things, providing

false and inaccurate testimony and declarations, allowing the Debtor to produce and file inaccurate

documents, pilfering funds belonging to the DIP for the benefit of their affiliated entities, providing

the Sheehan Defendants full access and control of the Debtor’s books and records, allowing the

Sheehan Defendants to assist in the preparation of the Debtor’s filings with this Court, intentionally

attempting to rig the Section 363 sale for the benefit of the Sheehan Defendants (resulting in an

artificially low price for the Debtor’s assets at auction) and causing the Debtor to incur substantial

unnecessary and avoidable fees, costs, and expenses. Id. at ¶¶ 175, 104-116, 128-147, 189.

       The Insider Defendants retained and utilized Defendant Boyer as the Debtor’s non-

bankruptcy General Counsel while knowing that Defendant Boyer was breaching fiduciary duties

owed to the Debtor by simultaneously acting as counsel to the Polebridge Entities and the Wynk

Entities to the considerable prejudice and detriment of the Debtor and its creditors. Id. at ¶ 176.



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Defendant Boyer breached his fiduciary duties to the Debtor by simultaneously representing the

Debtor, the Polebridge Entities, and the Wynk Entities, which, as set forth herein, existed for the

purpose of defrauding the Debtor and its creditors. Id. at ¶ 177. Moreover, Defendant Boyer as

general counsel to the Debtor knew or should have known of management’s wrongdoing and

failure to follow proper standards of corporate governance as set forth herein, had a duty to take

corrective measures, and actively assisted Defendants’ scheme instead of fulfilling his duty to

correct the wrongdoing. Id.

          Defendants Parzych and Rittenburg treated the Debtor as their piggy bank, making a

number of personal purchases using the Debtor’s funds, as set forth in detail in the Amended

Complaint. Id. at ¶ 178. Additionally, as set forth in detail in the Amended Complaint, the Insider

Defendants caused the Debtor to wrongfully funnel large sums of money into entities owned by

Defendant Casey Parzych’s father, Defendant Gary Parzych. Id. at ¶¶ 179-188.

          E.     The Chapter 7 Case

          On August 25, 2021, the United States Trustee filed a Motion Pursuant to 11 U.S.C. § 1112

to Dismiss the Case or Convert to Chapter 7 (the “Conversion Motion”). In support of the

Conversion Motion, the United States Trustee averred, inter alia:

          a.     “[P]rior to the petition date the Debtor caused to be made transfers of substantial

value”;

          b.     “The Debtor has failed to timely file its financial operating reports since the petition

date. The UST, creditors, and parties in interest are unable to examine the Debtor’s post-petition

operations and determine whether the Debtor has otherwise complied with its fiduciary

obligations. Further, the failure to comply with this duty makes it impossible to determine the

administrative expenses of the estate since this case was filed.”; and



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       c.       “The Debtor has failed to file the Notice of Officer Compensation as required by

LBR 4002-1 disclosing any payments made since the filing date or contemplated being made to the

Debtor’s officers,” id. at ¶ 189.

        On October 13, 2021 (the “Conversion Date”), the Bankruptcy Court entered an order

converting the Debtor’s Chapter 11 case to a case under Chapter 7 of the Bankruptcy Code and,

on October 14, 2021, the Trustee was appointed as the permanent Chapter 7 Trustee of the Estate.

Id. at ¶ 190.

        Since her appointment, the Trustee has undertaken an investigation of the Debtor’s affairs.

Id. at ¶ 191. The Defendants have actively obstructed the Trustee’s investigation. Id. at ¶ 192. As

discussed herein, Defendants intentionally destroyed or stole the Debtor’s emails and electronic

files. Id. at ¶ 193. The night before Millstone was set to take over the Debtor, documents stored

in a safe located at 118 North Main were removed. Id. at ¶ 194. A forensic analysis of the Debtor’s

Wi-Fi system disclosed that a device named “Casey’s Phone” logged into the Debtor’s network at

a time contemporaneous with the removal. Id. Defendants Casey Parzych, Rittenburg, Baldwin,

Festa, Culbertson, Uszenski, Best Bev, LLC, Can Man, EtOH Worldwide, LLC and AgTech VI

have failed to cooperate with requests for information issued pursuant to Bankr. E.D.Pa. Local

Rule 2004-1. Id. at ¶ 195. Defendants instructed former debtor employees to sign non-disclosure

agreements to conceal information concerning the operation of the Debtor’s business. Id. at ¶ 196.

        Additionally, former Debtor employees who did not cooperate with Defendants were

harassed and intimidated. Id. at ¶ 197. By way of example, a chocolate phallus was sent to the

family home of a former Debtor employee who chose to work for Millstone rather than join

Defendants at the Best Bev Entities. Id.

        On March 7, 2022, Millstone filed a proof of claim which confirms many of the foregoing



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allegations and establishes that the Defendants’ wrongdoing caused substantial harm to the Estate

by incurring debts and making expenditures on behalf of the Pilfering Entities, transferring the

Debtor’s equipment to the Pilfering Entities, and ultimately diminishing the value of the Debtor in

the eyes of potential Rule 363 purchasers. Id. at ¶ 198.

       F.       The Adversary Proceeding

       The Trustee instituted the instant adversary proceeding by filing her original complaint on

June 15, 2023. See Adv. D.I. 1. Moving Defendants filed a motion to dismiss the Trustee’s

original complaint on September 15, 2023 (Adv. D.I. 17, the “Prior MTD”), along with a

supporting memorandum of law detailing their arguments (Adv. D.I. 17-1, the “Prior MTD Br.”).

       On July 23, 2024, this Court issued an order (Adv. D.I. 40) and accompanying opinion

(Adv. D.I. 39, the “MTD Opinion”) granting in part and denying in part the Prior MTD, and

holding as follows:

               Count 1 of the complaint stated a claim for breach of fiduciary duty against all
                Insider Defendants, MTD Opinion at pp. 32-37;

               Count 2 of the complaint stated a claim for aiding and abetting breach of fiduciary
                duty against all Moving Defendants, id. at pp. 40-44;

               Count 3 of the complaint stated a claim for corporate waste against all Insider
                Defendants, id. at pp. 45-46;

               Count 4 of the complaint stated an alter ego claim against Moving Defendants
                Casey Parzych, Rittenburg, and Culbertson, and a claim for veil piercing against
                the Pilfering Entities, id. at pp. 49-52, with the Trustee granted leave to amend its
                claim for successor liability as a separate count, id. at p. 46 n.21;

               Count 5 of the complaint stated a claim for unjust enrichment against all Moving
                Defendants, id. at pp. 55-57;

               Count 6 of the complaint failed to state a claim for an equitable accounting, id. at
                pp. 58-59;

               Count 7 of the complaint failed to state a claim for a constructive trust, id. at p. 61;


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             Count 8 of the complaint stated a claim for breach of contract against Moving
              Defendants Casey Parzych and Rittenburg and a claim for declaratory relief against
              the Pilfering Entities, id. at pp. 63-64;

             Count 10 of the complaint stated a claim for equitable subordination against
              Moving Defendants AgTech VI LLC, ETOH Worldwide LLC, and Boyer, id. at
              pp. 65-67;

             Count 11 of the complaint stated a claim for turnover against all Moving
              Defendants as to the Debtor’s electronic records and emails, id. at pp. 68-69;

             Count 12 of the complaint, for avoidance and recovery of post-petition transfers,
              would be dismissed with leave to amend, id. at p. 71; and

             Count 13 of the complaint stated a claim for a preference against Defendant Boyer,
              id. at pp. 73-74.

       On August 22, 2024, the Trustee filed her Amended Complaint, making the following

limited amendments specifically contemplated in the MTD Opinion:

             With respect to Count 4, the claims for alter ego and veil piercing were limited to
              Defendants Parzych, Rittenburg, Culbertson, and the Pilfering Entities in Count 4A,
              and the claim for successor liability against the Pilfering Entities was separated into
              a separate count, Count 4B, see Amended Complaint at ¶¶ 224-238;

             Counts 6 (for an accounting) and 7 (for a constructive trust) were eliminated;

             Count 10 (for equitable subordination) was limited to Defendants AgTech VI LLC,
              EtOH Worldwide LLC, and Boyer;

             Count 11 (for turnover) was limited to encompass only the Debtor’s emails and
              other records; and

             Count 12 (for avoidance of post-petition transfers) was amended to correct a
              typographical error, with the undefined term “Best Bev Defendants” changed to the
              defined term “Best Bev Entities”.5

       On September 30, 2023, the Moving Defendants filed the instant Motion to Dismiss the

Trustee’s Amended Complaint (Adv. D.I. 50), along with an accompanying memorandum of law




5
       See MTD Opinion at 71.

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(Adv. D.I. 50-1, the “Renewed MTD Br.”).

III.   MOTION TO DISMISS STANDARD

        The Moving Defendants’ challenge to the Trustee’s standing is subject to Federal Rule of

Civil Procedure 12(b)(1). “A facial 12(b)(1) challenge, which attacks the complaint on its face

without contesting its alleged facts, is like a 12(b)(6) motion in requiring the court to consider the

allegations of the complaint as true.” Hartig Drug Co. Inc. v. Senju Pharm. Co., 836 F.3d 261,

268 (3d Cir. 2016) (citations and quotation marks omitted). A factual 12(b)(1) challenge attacks

allegations underlying the assertion of jurisdiction in the complaint and, “when reviewing a factual

challenge, a court may weigh and consider evidence outside the pleadings.” Id. (citations and

quotation marks omitted).

        Moving Defendants’ remaining arguments are subject to Federal Rule of Civil Procedure

12(b)(6), pursuant to which the court must accept all factual allegations as true, construe the

complaint in the light most favorable to the plaintiff, and determine whether, under any reasonable

reading of the complaint, the plaintiff may be entitled to relief. ChemLogix LLC v. Bulk Tainer

Logistics N. Am., Inc., 2023 WL 5751404, at *4 (E.D. Pa. Sept. 6, 2023). “To survive a [Rule

12(b)(6)] motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “The purpose of a motion to




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dismiss is to test the sufficiency of a complaint, not to resolve disputed facts or decide the merits

of the case.” In re Student Fin. Corp., 335 B.R. 539, 546 (D. Del. 2005).

IV.     ARGUMENT

        A.      The Trustee Has Standing To Pursue Her Claims, Which Were Not Among
                the Debtor’s Business Assets Transferred to Millstone

        Moving Defendants – after actively litigating this case for over fifteen months, and

despite their contemporaneous knowledge of the September 2021 sale of certain of the Debtor’s

assets to Millstone and the terms thereof – belatedly argue that the Trustee lacks standing to

pursue certain of the claims in the adversary proceeding6 because those claims were purportedly

sold by the Debtor to Millstone. Renewed MTD Br. at pp. 4-10. The argument should be

rejected as a last-ditch litigation tactic as it is contradicted by: 1) the plain language of the APA

between the Debtor and Millstone, and the Court’s Sale Order approving the same; 2) the

representations of counsel for both the Debtor and Millstone in open court prior to this Court’s

approval of the APA; 3) Millstone’s own intent and interpretation of the APA as leaving the

Trustee’s claims with the Debtor’s estate; and 4) the post-sale course of conduct of a significant

subset of the Moving Defendants, including Defendant Casey Parzych, who controlled the

Debtor during the negotiation and approval of the APA prior to appointment of the Trustee.

                1.      The Plain Language of the APA Establishes That the Trustee’s
                        Causes of Action Were Not Among The Business Assets Transferred
                        to Millstone

        Section 1.01 of the APA states that Millstone is purchasing “all of [the Debtor’s] right,

title, and interest in, to, and under all of the tangible and intangible assets, properties, and rights



6
         Moving Defendants identify Counts 1-5, 8, and 10-12 as common law claims subject to
their standing attack. Renewed MTD Br. at p. 4. This is incorrect, as claims ten, eleven, and
twelve arise under the Bankruptcy Code.

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of every kind and nature and wherever located (other than the Excluded Assets), which relate to,

or are used or held for use in connection with, the Business (collectively, the “Purchased

Assets”). . .,” with the “Business” contractually defined as the Debtor’s “business of distilling

and producing spirits.” See APA § 1.01 and Recitals (Bankr. D.I. 178 at ECF page 23 of 61); see

also Bankr. D.I. 15, 6/22/21 Declaration of Moving Defendant Casey Parzych in Support of First

Day Motions at ¶¶ 9, 13 (representing that the Debtor “operates a distillery and co-co-packaging

[sic] plant in Bucks County, Pennsylvania” and “produces a variety of brands [of alcoholic

beverages], such as Keystone Rail, Faber, Single Prop and Escape Goat”).

       This language makes it clear that the intent of the parties was for the Debtor to retain

assets above and beyond the explicitly Excluded Assets, as the potential universe of Purchased

Assets is limited from the start to those assets which “relate to, or are used or held for use in

connection with, the Business.” The Trustee’s litigation claims do not relate to, nor were they

used or held in connection with, the Debtor’s operating business of distilling and producing

spirits. To the contrary, the Trustee’s claims arise out of the Moving Defendants’ theft and

usurpation of the Debtor’s resources to benefit otherwise completely unrelated or competing

businesses, namely the CBD, marijuana, and hand sanitizer businesses operated by the

Polebridge Entities and the Wynk Entities and the competing canning and liquor business

operated by the Best Bev Entities. The Debtor was in the liquor business, not the litigation

business, and the Moving Defendants’ interpretation of the APA strains credulity.

       There can be no dispute that the Trustee’s claims relating to use of the Debtor’s resources

to operate the CBD business of the Polebridge Entities and the marijuana business of the Wynk

Entities was not related to the Debtor’s business of distilling and producing spirits. Indeed, the

Moving Defendants themselves admitted that the businesses are entirely unrelated in their



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original motion to dismiss, where they argued that “the Trustee’s theory of the case . . . would

have resulted in the Debtor operating in an illegal manner. . . . [T]he Debtor could not engage in

business activities such as those related to CBDelight and Wynk Seltzer. At bottom, the

Trustee’s case is founded on an unsupportable claim that the estate should be entitled to the value

of separate business ventures which the Debtor did not, and could not, own.” Prior MTD Br.

(Adv. D.I. 17-1) at p. 30.7 Accordingly, the Moving Defendants’ arguments as to claims relating

to CBD or marijuana production must be rejected.

       And the Moving Defendants fare no better with the Trustee’s claims relating to the

Moving Defendants’ use of the Debtor’s resources to benefit the Polebridge Entities with respect

to hand sanitizer and the Best Bev Entities with respect to a competing canning and liquor

business, as those claims arise not out of the Debtor’s operation of its business, but instead the

Moving Defendants’ usurpation of the Debtor’s business for their own purposes. In



7
         See also id. at p. 2 (“the Debtor did not, and could not, own or operate CBDelight or
Wynk Seltzer—CBD or cannabis infused beverage products—due to restrictions imposed upon
the Debtor by its lender, insurance, and liquor license”), pp. 3-4 (“The Debtor did not and could
not engage in CBD or cannabis sales due to the fact that PNC, the Debtor’s prepetition secured
lender, is a federally chartered national bank that cannot be the lender to a company selling CBD
or cannabis-based or controlled-substance products. Moreover, licensing and insurance
constraints did not allow for the Debtor to be concurrently in the business of manufacturing and
selling both alcohol and CBD or cannabis products.”), p. 28 (“the Debtor could not engage in
CBD- or cannabis-related activities”), p. 50 (“CBDelight, Wynk Seltzer, and other alleged ‘Work
Product,’ are not and were never assets of the Debtor or property of the estate. In fact, the
Debtor could not own or sell those products because of lending, regulatory, and insurance
restrictions.”); accord Amended Complaint at ¶ 141 (alleging that, on August 6, 2021, in
response to questioning from counsel for the United States Trustee, the Debtor represented that it
“does not now and never has provided services to any companies for the purpose of unlawfully
manufacturing, storing, distribution, or using a controlled substance as defined under federal law.
. . . None of the debtor’s assets . . . are currently used by or in the business operations of AgTech
nor have they ever been used by or in the business operations [sic] AgTech. AgTech lawfully
provides services to cannabis companies using assets that are not and never were owned by the
debtor.”).


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circumstances such as this, courts narrowly construe contractual language to make sure only

those assets the parties intended to transfer are included in the asset sale.

        For instance, in Tl Administration Corp. v. Ideasphere, Inc., 337 B.R. 827 (Bankr.

S.D.N.Y. 2006), the parties disputed whether the “intangible” assets mentioned in a pre-

bankruptcy Asset Purchase Agreement (the “TL APA”) included the debtors’ right to restitution

from two insurance brokers for alleged wrongful activity that predated the TL APA. The TL

APA called for the transfer of “all the assets . . . used in the Business, . . . whether real or

personal, tangible or intangible, vested or unvested, contingent or otherwise,” including

“accounts receivable,” “goodwill and other intangible assets associated with the Business,” and

“any rights, claims or causes of action of Sellers against third parties relating to the Business or

the Purchased Assets.” Id. at 830 (formatting altered). Despite the broad language, the court

construed the TL APA as covering only those assets actually used in the normal course of the

aluminum “business” that was being sold, and not “all of the Sellers’ assets” regardless of

whether they directly concerned normal business operations. Id. at 831 (emphasis in original).

Finding the debtors’ claims against the brokers to be different in kind and nature from normal

business operations, the court held that those unique assets had not been transferred “because

they were not ‘used in the [Sellers’] Business,’ unless one reads the definition of ‘Business’ so

broadly as to encompass not what [the TL] APA § 1.1 says the ‘Business’ is (the ‘manufacturing

and marketing of nutritional products’), but, rather, the ownership of all of the Debtors’ assets.

Such an interpretation, however, would render the [TL] APA’s emphasis on the Purchased

Assets being used in the ‘Business’ superfluous.” Id. at 832. The court reached this conclusion

despite the TL APA’s language calling for the transfer of “any rights, claims or causes of action .

. . relating to the Business or the Purchased Assets,” holding that the rights at issue “are ‘related’



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to the Business only to the extent that they are something of value that may, like any other asset

that is convertible into money, be used in the business, a connection that is too tangential to

support the[ir] treatment . . . as a Purchased Asset.” Id. at 830, 835; accord In re Silicon Electro-

Physics, Inc., 116 B.R. 44, 46 (Bankr. W.D. Pa. 1990) (a “lien” on corporate “collateral,”

including “contract rights,” did not include life insurance proceeds, as the “record” did not

support an intent to do so).

       Here, as in Tl Administration, the APA makes it clear that the Debtor is not selling all of

its assets, but instead only those assets which “relate to, or are used or held for use in connection

with” the Debtor’s Business. The only relation of the Trustee’s claims to the Debtor’s Business

– as opposed to the business of other companies – is that the claims arise out of the Moving

Defendants’ wrongful use of the Debtor’s money, property, and employees. It cannot fairly be

said that the Trustee’s claims are “related to” the Debtor’s Business simply because they

implicate the Moving Defendants’ usurpation of the Debtor’s resources, as such an interpretation

would render superfluous the APA’s transfer of not all assets, but instead only assets related to

the Debtor’s business. See Tl Administration Corp., 337 B.R. 827; cf. Linens of Europe, Inc. v.

Best Mfg., Inc., 2004 WL 2071689, at *8 (S.D.N.Y. Sept. 16, 2004) (contractual assumption of

“routine commercial liability incurred ‘in the ordinary course of business”’ did not include

“tortious liability arising out of unlawful activity”); New York State Conf. of Blue Cross & Blue

Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 655 (1995) (Supreme Court, in the context of

statutory pre-emption, cautions against an overbroad interpretation of the term “relate to” – “If

‘relate to’ were taken to extend to the furthest stretch of its indeterminacy, then for all practical

purposes pre-emption would never run its course, for really, universally, relations stop

nowhere[.]” (internal alteration marks, quotation marks and citation omitted)).



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       Further confirmation that the APA did not transfer the Trustee’s litigation causes of

action comes from APA Section 1.01(k), which states that the transferred property includes “any

claims or causes of action [Debtor] or its bankruptcy estate have, had, or may have against

[Millstone] or any of its affiliates, or any holder of an Assumed Liability, including, without

limitation, any claims or causes of action pursuant to Sections 544, 547, 548, 549, or 550 of the

Bankruptcy Code[.]” See APA § 1.01(k) (Bankr. D.I. 178, ECF page 25 of 61); see also Sale

Order, at ¶ 10 (Bankr. D.I. 178, ECF page 10 of 61).8 If other language in the APA effectuated

the transfer to Millstone of all litigation claims, then Section 1.01(k) would be entirely redundant

and of no effect. Accordingly, the only reasonable interpretation of the APA is that the causes of

action being brought by the Trustee were transferred to Millstone only to the extent they were

against Millstone or its affiliates, or the holder of an Assumed Liability. See M. Barry Schultz &

Co. v. APM Horsham, Inc., 835 F. Supp. 820, 822 (E.D. Pa. 1993) (“Ultimately, contracts should

be construed to give effect to every provision.) (citing Dep’t of Transp. v. Manor Mines, Inc.,

565 A.2d 428, 432 (Pa. 1989) (“It is also well established that when interpreting a contract a

court must determine the intent of the parties and effect must be given to all provisions in the

contract.”)); Atl. Richfield Co. v. Razumic, 390 A.2d 736, 739 (Pa. 1978) (“To determine an

agreement, a writing must be interpreted as a whole, giving effect to all its provisions.”).9


8
        Paragraph 10 of the Sale Order mirrors Section 1.01(k) of the APA and states that, “[a]t
the closing of the Sale Transaction, to the extent provided by the Asset Purchase Agreement (and
not identified as an Excluded Asset), all of the rights, claims or causes of action the Debtor or its
bankruptcy estate against the Buyer, its affiliates or any holder of an Assumed Liability,
including any Claims and causes of action arising under Chapter 5 of the Bankruptcy Code or
any similar Law against such older of an Assumed Liability, shall be assigned, sold and
transferred to Buyer, free and clear of all liens, claims, encumbrances and interests, and Buyer
shall have standing and authority to assert such rights, claims and causes of action.”
9
         Moving Defendants cite Hill v. Akamai Tech, Inc., 477 F.3d 1131 (10th Cir. 2007) in
support of their argument that the Debtor-in-possession waived the Trustee’s claims by not
listing them in the APA as causes of action pending or threatened against the Debtor. Renewed
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               2.     The Parties’ Representations to this Court in Support of the Debtor’s
                      Sale of Business Assets Establish That the Trustee’s Causes of Action
                      Were Not Transferred to Millstone

       The interpretation of the APA as not including the Trustee’s causes of action was

confirmed by the parties to the agreement in open court during the hearing on the Debtor’s motion

to approve the sale, with counsel for Millstone representing as follows:

               MS. JEFFERSON [counsel for Millstone]: Your Honor, the final
               objection is the objection filed by the United States Trustee, at
               docket 140. There were a number of issues raised in that objection
               ....

                     The first being a concern regarding the sale of the Debtors
               Chapter 5 causes of action. . . .

                        Section 1.01k of the Asset Purchase Agreement, and decretal
               paragraph 10 of the Sale Order, limit the Chapter 5 causes of action
               being sold to the buyer to those actions against the Buyer, its
               affiliates, and the holder of any assumed liability. There should not
               be any cause of action against the Buyer or its affiliates, because
               they had no prebankruptcy business relationship with the Debtor.
               The holder of the assumed liabilities is a very limited list. And I
               think it is entirely normal and appropriate that a buyer requests that
               the parties it intends to do business with going forward not be
               potentially rendered insolvent by a cause of action. . . .

See Ex. A, Bankr. D.I. 189 at 18:19-19:15. Counsel for the Debtor and the United States Trustee

agreed with Ms. Jefferson’s statement. Id. at 22:2-7, 9-10, 20-24.

       In describing the marketing of the assets which were being sold, counsel for the Debtor

represented that

               [William F.] Comly [and Son, Inc.] . . . prepared and implemented

MTD Br. at p. 9. The argument is specious, as the Trustee’s claims were not “pending” or
“threatened” until the Trustee was appointed and investigated the wrongdoing of the Moving
Defendants, including wrongdoing committed when the Insider Defendants were in control of
the Debtor-in-possession. Hill is entirely inapposite, as that case held that a Chapter 7 trustee
was bound by an explicit bar on claims approved by the Bankruptcy Court, 477 F.3d at 1135, not
an implied bar on claims arising out of the Insider Defendants’ failure to list claims against
themselves in a contractual recital.

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               a marketing program to promote the sale of the assets. And as
               reference to that there is Exhibit 5, which is the Comly exhibit of the
               marketing material, which is essentially a list of . . . Comly’s
               expenses, as well as a copy of the ad and the brochure. The prices
               are not relevant. What is relevant is the different activity and the
               nice little glossy picture there, with the assets.

Id. at 39:20-40:3. Reference to Exhibit 5, attached hereto as Ex. E, demonstrates that the assets

counsel was referring to were “Real Estate, Intellectual Property & Distillery Process Equipment,”

and not litigation claims.

       Counsel’s presentation led to the following inquiry from this Court:

               THE COURT:            . . . So, the Debtor is selling this real estate,
               equipment, and the entire business, correct?

               MR. BURNETT [Debtor’s counsel]:             Basically, yes, Your
               Honor. Obviously, the . . . purchased assets are specifically listed,
               but essentially that is correct.

               ***

               THE COURT:             . . . And the Chapter 5 issue that Mr. Callahan
               raised, related to claims against the purchaser or their affiliates,
               correct?

               MS. JEFFERSON: That is correct, Your Honor. And that is
               Section 101k of the Asset Purchase Agreement, and decretal
               paragraph 10 of the Order, that makes very clear that the only
               Chapter 5 causes of action being sold to the Buyer relate to those
               claims that would be against the Buyer, its affiliates, and the holders
               of assumed liabilities. So, a very limited universe of parties.

               THE COURT:              Are there any other Chapter 5 claims?
               Because I think Mr. Callahan was satisfied there aren’t any claims
               under 547, 548, are [sic] any of those things? And if they are, they
               are not being sold, if they are, correct?

               MS. JEFFERSON: Correct. There . . . may be some. They will
               remain with the estate.

               THE COURT:                Okay. Okay.

               MR. BURNETT:              Correct.

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Id. at 44:2-7, 59:2-19.

       While counsel’s statements pertain to Chapter 5 claims and limit those claims being

transferred to only those claims which are against Millstone or the holder of an Assumed Liability,

counsel explained that claims against other defendants were not transferred due to operation of

Section 1.01(k) of the APA and decretal paragraph 10 of the Sale Order, which are not limited to

Chapter 5 claims. Instead, those paragraphs broadly encompass “any claims or causes of action

the [Debtor] or its bankruptcy estate have, had, or may have[.]” APA at § 1.01(k) (Bankr. D.I.

178, ECF page 25 of 61, emphasis added); accord Sale Order at ¶ 10 (Bankr. D.I. 178, ECF page

10 of 61, referring to “all of the rights, claims or causes of action of the Debtor or its bankruptcy

estate”). If, as counsel represented to this Court, Section 1.01(k) limits the transfer of Chapter 5

claims to only those claims against Millstone or the holder of an Assumed Liability, then Section

1.01(k) must also limit the transfer of the Trustee’s common law claims to the same extent.

               3.         The Parties’ Course of Performance Establishes That The Trustee’s
                          Claims Were Not Transferred to Millstone

       “Under Pennsylvania law, the course of performance may always be considered as

evidence of the intent of the parties.” Gen. Refractories Co. v. First State Ins. Co., 94 F. Supp.

3d 649, 663 (E.D. Pa. 2015). Indeed, “‘(t)he parties to an agreement know best what they meant,

and their action under it is often the strongest evidence of their meaning.’” Atl. Richfield Co. v.

Razumic, 390 A.2d 736, 741 n. 6 (Pa. 1978) (alteration in original; quoting Restatement (Second)

of Contracts § 228 cmt. g). Here, 1) Millstone interpreted the APA as not including the Trustee’s

claims and accordingly did not assert any of the causes of action brought in the Adversary

Proceeding on its own behalf; and 2) Moving Defendant Casey Parzych (who controlled the




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Debtor during the sale to Millstone and who signed the APA on behalf of the Debtor10) took

action demonstrating his understanding that causes of action like those being brought by the

Trustee were not property of Millstone. These facts operate as powerful confirmation that the

parties to the agreement did not intend to transfer the Trustee’s claims.

       Millstone has confirmed that it did not intend for the APA to transfer the Trustee’s causes

of action and does not interpret the APA as having transferred those causes of action. See Ex. F

at Appendix 1, ¶ 7 (Declaration of Millstone President Robert Cassell). Accordingly, Millstone

has not acted to assert the causes of action brought in the Adversary Proceeding on its own

behalf. Id. at ¶ 8. As the buyer which would have benefitted from the transfer of potentially

valuable causes of action, Millstone’s interpretation of the APA and subsequent inaction

regarding the causes of action asserted by the Trustee is entitled to substantial weight.

       And the Debtor-in-possession’s intent and interpretation of the APA was no different.

On April 2, 2021, Anthony Lorubbio – one of the Debtor’s former principals – brought claims

for breach of fiduciary duty against Moving Defendants Casey Parzych, Baldwin, Rittenburg,

and Polebridge in the Bucks County Court of Common Pleas. See Ex. B, Docket from Lorubbio

v. Parzych, et al., Bucks Cty. CCP No. 2021-01816 (the “State Court Docket”). On July 15,

2023 – nearly two years after this Court’s approval of the APA – those Moving Defendants filed

a motion for summary judgment which argued that the state court lawsuit should be dismissed

because “none of [Lorubbio’s] alleged injuries can be separated from . . . MMD’s [i.e., the

Debtor’s] purported injuries” (i.e., Lorubbio’s claims are derivative of injury inflicted on the

Debtor) and because “Lorubbio failed to join Midnight Madness Distilling, LLC [i.e., the

Debtor] . . . as an indispensable party.” See Ex. C, State Court MSJ Br. at pp. 1, 5. While it was


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       See Ex. D (executed version of APA).

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ultimately denied, the state court motion is germane to the Moving Defendants’ standing

argument because it demonstrates that a significant subset of the Moving Defendants – including

Casey Parzych, who controlled the Debtor during the negotiation, approval, and execution of the

APA, and who executed the APA on behalf of the Debtor – understood that the Debtor retained

ownership of causes of action for breach of fiduciary duty and, had the state court agreed with

those Moving Defendants’ arguments, it would be the Debtor, and not Millstone, that would be a

necessary party to Lorubbio’s state court action.

       As the controlling principal of the Debtor during the Millstone sale, Moving Defendant

Casey Parzych’s interpretation of the APA as leaving derivative claims for breach of fiduciary

duty in the possession of the Debtor demonstrates his understanding that claims of that nature

were not transferred to Millstone. See In Re Twp. of Blythe, 2020 WL 710003, at *7 (Pa.

Cmwlth. Feb. 12, 2020) (“a party’s performance under the terms of a contract is always relevant

in interpreting writing”).

       The Moving Defendants’ course of conduct during the instant lawsuit further

demonstrates their understanding that causes of action like those brought by the Trustee were not

among those distillery business assets transferred to Millstone via the APA. The Trustee

initiated this adversary proceeding on June 15, 2023 (Adv. D.I. 1), and effectuated service the

next day (Adv. D.I. 2). Instead of immediately arguing that the Trustee lacked standing to bring

her claims, the Moving Defendants attempted to have this Case withdrawn to the District Court

(Adv. D.I. 5, 9/5/23 Motion for Withdrawal of Reference), and filed their original motion to

dismiss this case (Adv. D.I. 17) raising arguments relating to the merits of the Trustee’s claims,

and not any purported lack of standing to bring them. Despite undoubtedly being aware of the

sale to Millstone and the terms of the APA, the fact that it took Moving Defendants over a year



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to argue that the Trustee’s claims were part of the business assets transferred to Millstone is

further demonstration that the parties to the APA did not interpret it as such and that the Moving

Defendants’ current argument is a litigation gambit and an attempt to play things fast and loose

with this Court.

               4.      Moving Defendants AgTech VI, LLC and ETOH Worldwide, LLC
                       Were Not “Holders” of Assumed Liabilities

       Moving Defendants Agtech VI, LLC and ETOH Worldwide LLC make the additional

argument that Section 1.01(k) of the APA transferred the Trustee’s claims against them to

Millstone because they were “holder[s] of Assumed Liabilities.” Renewed MTD Br. at 32.

Section 1.03 of the APA governs Assumed Liabilities and states in pertinent part as follows:

               Buyer shall not assume or be responsible for any Liabilities of the
               Seller, except that Buyer shall only assume the following Liabilities
               (the “Assumed Liabilities”): . . .

               (d)     Buyer shall assume and perform those monetary obligations
               of the Seller under the Seller’s Equipment Leases with Agtech IV,
               LLC and ETOH Worldwide LLC (the “Rejected Leases”) that arise
               on or after the Petition Date, to the extent that (i) such obligations
               are administrative claims (the “Agtech/ETOH Admin Claims”)
               allowed pursuant to Section 503 of the Bankruptcy Code by a final,
               non-appealable order of the Bankruptcy Court; (ii) the Buyer shall
               be entitled, and have standing to object to any such Motion seeking
               allowance of the Agtech/ETOH Admin Claims; (iii) the Buyer shall
               have no obligations with respect to the Rejected Leases or the
               Agtech/ETOH Admin Claims other than as expressly provided
               herein.

APA at § 1.03 (Bankr. D.I. 178, ECF pages 25-26). As an initial matter, Moving Defendants’

argument is entirely inapplicable to Defendant AgTech VI, LLC, as that entity is not mentioned

in APA Section 1.03 – instead the section discusses AgTech IV, LLC, which is not a defendant

in the Trustee’s lawsuit.




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       Even assuming that the APA listed AgTech VI, LLC in Section 1.03(d) (and not non-

defendant AgTech IV, LLC), Moving Defendants’ argument should be rejected because AgTech

IV, LLC and ETOH Worldwide, LLC were not “holder[s] of Assumed Liabilities” for purposes

of APA Section 1.01(k) due to their unique treatment in the APA. Unlike all the other Assumed

Liabilities listed in Section 1.03 of the APA – which required Millstone to assume and perform

the Debtor’s obligations under various Assigned Contracts and assumed claims whole cloth, see

APA §§ 1.03(a)-(c) (Bankr. D.I. 178, ECF page 25 of 61) – the contracts which purportedly

established the liabilities to AgTech IV, LLC and ETOH Worldwide, LLC were not assumed.

To the contrary, they were expressly rejected, as demonstrated by their definition as “Rejected

Leases” in APA Section 1.03(d) and as specified by decretal paragraph 13 of the Sale Order,

which states that “the Debtor shall not reject any Contract designated an Assigned Contract

under the [APA], provided however, that the Debtor’s Equipment Lease Agreements with

Agtech IV, LLC and ETOH Worldwide, LLC shall be deemed rejected as of the date of this

Order.” See APA § 1.03(d) (Bankr. D.I. 178, ECF page 25 of 61); Sale Order at ¶ 13 (Bankr.

D.I. 178, ECF pages 11-12).

       As opposed to “holding” – i.e., possessing – an assumed liability which was established

by an executory contract and which could have been the subject of claims that Millstone would

in fairness have to hold in order to not sit unprotected in an ongoing contractual relationship, all

that AgTech IV, LLC and ETOH Worldwide, LLC obtained via Section 1.03(d) was a highly

qualified path to payment of specifically designated claims subject to the further approval of this

Court. Accordingly, these entities were not “holders” of Assumed Liabilities for purposes of

Section 1.01(k).




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       This is the only rational interpretation of the APA considering counsel’s explanation

during the Section 363 hearing that Section 1.01(k) of the APA was justified with respect to

assumed liabilities because “[t]he holder of the assumed liabilities is a very limited list. And I

think it is entirely normal and appropriate that a buyer requests that the parties it intends to do

business with going forward not be potentially rendered insolvent by a cause of action.” See Ex.

A, Bankr. D.I. No. 189 at 19:11-15. Here, because the leases with AgTech IV, LLC and ETOH

Worldwide, LLC were expressly being rejected under paragraph 13 of the Sale Order, there was

no “business going forward” and no justifiable reason to include claims against AgTech IV, LLC

and ETOH Worldwide, LLC among those which were transferred to Millstone.

       It is notable that Judge Coleman, who approved the APA language in the first instance,

has already rejected the Moving Defendants’ arguments that claims against AgTech VI, LLC and

ETOH Worldwide, LLC are barred by virtue of their being allowed administrative expenses

under the APA, see Prior MTD Br. (Adv. D.I. 17-1) at p. 48. The result should be no different

the second time around.

               5.      Moving Defendants’ Argument Is Inapplicable to Count 8

       Even should the Court accept Moving Defendants’ jurisdiction argument as to certain of

the Trustee’s other claims, the argument is entirely inapplicable to Count 8, for breach of the

Debtor’s LLC Agreement against Moving Defendants Casey Parzych and Rittenburg and related

declaratory relief against the Pilfering Entities. See Amended Complaint at ¶¶ 247-255. Section

1.02 of the APA states that the business assets purchased by Millstone “shall not include the

assets, properties, and rights specifically set forth on Schedule 1.02 of the Disclosure Schedules.”

APA § 1.02 (Bankr. D.I. 178 at ECF page 25 of 61). Schedule 1.02 specifically excludes from

the purchased assets “All Contracts, and leases of real or personal property except for the



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Assigned Contracts.” Id. at Sched. 1.02 (Bankr. D.I. 178 at ECF page 51 of 61). The Debtor’s

LLC Agreement, which forms the basis for the Trustee’s breach of contract claims, is not among

the contracts included in the APA’s schedule of assigned contracts. See id. at Schedule 1.01

(Bankr. D.I. 178 at ECF page 49 of 61). Accordingly, the Debtor’s contractual rights under its

LLC Agreement were not transferred to Millstone, and Moving Defendants’ challenge as to

Count 8 must be rejected.

               6.      Even If This Court Accepts Moving Defendants’ Standing Argument,
                       Millstone Has Executed A Conditional Assignment of Claims Back to
                       the Trustee

       As discussed above, Millstone did not intend for the APA to transfer the causes of action

now being asserted by the Trustee, and does not interpret the APA as having transferred those

causes of action. See Ex. F at Appendix 1, ¶ 7. However, out of an abundance of caution, to the

extent that this Court determines that the APA transferred any of the Trustee’s causes of action to

Millstone, Millstone assigns those causes of action to the Trustee retroactive to the date on which

Millstone is deemed to have taken possession of them. See Ex. F (Conditional Assignment of

Claims). This Court – which approved the APA and which has also already issued an opinion

allowing the bulk of the Trustee’s causes of action to continue – appointed the Trustee to

investigate claims such as those asserted in the Amended Complaint, and has broad discretion to

implement its orders and prevent abuses of process. See 11 U.S.C. § 105(a). The Trustee’s

Amended Complaint details significant malfeasance on the part of the Moving Defendants at the

Debtor’s expense. To this day, Moving Defendants continue to operate their Wynk and Best Bev

enterprises, reaping the benefits of their looting of the Debtor while the Debtor’s creditors

remain unpaid. Millstone believes that the causes of action asserted by the Trustee were not

transferred to Millstone, and, even if they are deemed to have been, Millstone is willing to assign



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them to the Trustee. The Trustee should accordingly be allowed to pursue her claims for the

benefit of the Debtor’s estate.

          B.     Moving Defendants’ Remaining Arguments, the Majority of Which Have
                 Already Been Considered and Rejected by this Court, Are Without Merit

                 1.      The Bulk of Moving Defendants’ Arguments Have Already Been
                         Rejected by this Court, And the Law of the Case Doctrine Denies
                         Them A Second Bite at the Apple

          With the exception of the standing issue addressed supra, and as highlighted in the opening

paragraph of the pertinent subsections below, Moving Defendants’ remaining arguments are by

and large identical to those they already raised in the Prior MTD (Adv. D.I. 17) and which were

rejected by this Court in its MTD Opinion (Adv. D.I. 39). The law of the case doctrine “limits re-

litigation of an issue once it has been decided in an earlier stage of the same litigation.” In re

Carbone, 615 B.R. 76, 85 (Bankr. E.D. Pa. 2020) (quotation marks omitted, citing Bowers v. City

of Philadelphia, 2008 WL 5234357, at *3 (E.D. Pa. Dec. 12, 2008) and Hamilton v. Leavy, 322

F.3d 776, 786-87 (3d Cir. 2003)); ACLU v. Mukasey, 534 F.3d 181, 187 (3d Cir. 2008) (“Under

the law-of-the-case doctrine, when a court decides upon a rule of law, that decision should continue

to govern the same issues in subsequent stages in the same case.” (quotation marks and citation

omitted)). This Court’s MTD Opinion is the law of the case and Moving Defendants’ attempt at

a second bite at the apple on the issues briefed below should accordingly be rejected as a matter of

course.




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               2.      As this Court Has Already Held, the Allegations of the Amended
                       Complaint Are Sufficiently Specific As to Each Defendant, And The
                       Term “Pilfering Entities” Is Clearly Defined

       Moving Defendants repeat their previously asserted11 argument that various claims in the

Amended Complaint are defective under Fed. R. Civ. P. 8 because of the use of purported vague

definitions and an improper “shotgun style” of pleading. Renewed MTD Br. at pp. 12-15. This

Court should deny Moving Defendants a second bite at the apple, and reject the argument for the

same reasons it was rejected in the first instance. See MTD Opinion (Adv. D.I. 39) at 21 (“[T]he

test is not perfect pleading, but rather whether the Complaint provides adequate notice to the

Moving Defendants of the claims that are asserted against them and the factual basis for the

claims. The Court finds that the Complaint sets forth the underlying facts underpinning each

claim against the Defendants, and identifies in each count which Defendants it seeks to hold

liable, thereby adequately satisfying this test. The Complaint therefore does not constitute a

shotgun pleading.”).

       The allegations in the Amended Complaint are specific enough to set forth claims against

each Moving Defendant. All that is required under Federal Rule of Civil Procedure 8(a)(2) is “a

short and plain statement of the claim showing that the pleader is entitled to relief.” The Rule

“do[es] not require heightened fact pleading of specifics, but only enough facts to state a claim to

relief that is plausible on its face.” Twombly, 550 U.S. at 570. To make a claim “plausible,” the

facts alleged must simply “raise a right to relief beyond the speculative level.” Id. at 555. “This

requirement ‘calls for enough fact[s] to raise a reasonable expectation that discovery will reveal

evidence of’ necessary elements of the plaintiff’s cause of action.” Infantino v. W. Wyoming

Borough, 2013 WL 3972770, at *2 (M.D. Pa. July 31, 2013) (quoting Twombly, 550 U.S. at 556).


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       See Prior MTD Br. (Adv. D.I. 17-1) at pp. 16-19.

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       Moving Defendants ignore these standards in their Motion. The Amended Complaint is

not a shotgun pleading and is entirely compliant with Rule 8 because it contains specific detail

regarding each Moving Defendant’s role at or concerning the Debtor, see Amended Complaint at

¶¶ 10-33, and includes specific allegations regarding the conduct of individual Moving Defendants

throughout. See, e.g., infra at pp. 62-65, 66-69 (detailing the Amended Complaint’s allegations of

individualized misconduct against each of the Moving Defendants).

       To the extent that certain paragraphs are alleged in terms of conduct that all or specific

subsets of the Defendants as a group engaged in or allowed to happen, the Amended Complaint is

pleaded in that fashion because all such Defendants collectively engaged in that behavior, and

there is nothing improper with allegations of this type. See Buckley v. O’Hanlon, 2007 WL

956947, at *5 (D. Del. Mar. 28, 2007) (stating a claim does not require a plaintiff to “associate

specific parties to particularized conduct” when “much of the alleged conduct involved collective

action and decision making”); In re Genesis Health Ventures, Inc., 355 B.R. 438, 457 (Bankr. D.

Del. Dec. 13, 2006) (collective references to certain groups of defendants did not render the

pleadings defective, and made sense because the allegations arose out of group action); UD

Dissolution Liquidating Trust v. Sphere 3D Corp. (In re UD Dissolution Corp.), 629 B.R. 11, 36-

37 (Bankr. D. Del. 2021) (rejecting “group pleading” argument and finding amended complaint

contained sufficient detail of actions taken by the Defendants, collectively and individually, in

furtherance of the alleged breaches of fiduciary duty); Hawk Mt. LLC v. Mirra, 2016 WL 4541032,

at *2 (D. Del. Aug. 31, 2016) (“‘Group Pleading’ is permissible where—as here—information that

would permit greater particularity is exclusively within the possession of a defendant, and

defendants are alleged to have acted together to facilitate a general scheme.”).




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       The only specific concern raised by the Moving Defendants with respect to the

allegations of the Amended Complaint relates to the use of the term “Pilfering Entities,” which

the Amended Complaint clearly and specifically defines as consisting of the Polebridge Entities,

the Wynk Entities, and the Best Bev Entities, Amended Complaint at ¶ 38, which are themselves

specifically defined in the Amended Complaint, id. at ¶¶ 19, 26, 32. This Court had no difficulty

ascertaining the identity of the Pilfering Entities in denying the Moving Defendants’ original

motion to dismiss, and Moving Defendants’ challenge is baseless. See MTD Opinion (Adv. D.I.

39) at 3-5 (delineating the defined terms “Pilfering Entities,” “Polebridge Entities,” “Wynk

Entities,” and “Best Bev Entities”).

       And Moving Defendants’ argument loses sight of the fact that “whether a complaint is an

impermissible shotgun pleading is not wholly dependent on whether it incorporates all preceding

paragraphs or names multiple defendants, but on whether the complaint ‘give[s] the defendants

adequate notice of the claims against them and the grounds upon which each claim rests.’” Milo,

LLC v. Procaccino, 2020 WL 1853499, at *10 (E.D. Pa. Apr. 13, 2020) (quoting M.B. v.

Schuylkill Cty., 375 F.Supp.3d 574, 587 (E.D. Pa. 2019) (denying motion to dismiss when each

count in complaint adopted all preceding counts and when some claims “[did] not identify the

‘role of each particular defendant in the claim’” because complaint otherwise put defendants on

notice and “describes, in significant detail, specific allegations against the respective

defendants”)). Here, “[t]here is no great mystery . . . as to which counts are asserted against

which defendants [because,] [i]mmediately after the subheading for each count in the . . .

complaint, Plaintiff[] name[s] the specific defendant or defendants whose actions form the basis

of their claim for relief.” Rodwell v. City of Newark, 2023 WL 5703176, at *5 (D.N.J. Sept. 5,

2023) (rejecting defendants’ “shotgun pleading” argument).



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       The Amended Complaint in the instant case, which pleads numerous details concerning

each Moving Defendant’s participation in an overall scheme to benefit themselves and entities

under their control at the expense of the Debtor, meets the minimal standard of giving Moving

Defendants adequate notice of the Trustee’s claims and the grounds on which they rest.

Accordingly, as it was when this Court first rejected it, Moving Defendants’ argument as to the

sufficiency of the Trustee’s pleading is without merit.

               3.      As This Court Has Already Held, the Amended Complaint
                       Establishes That Defendant Baldwin, As An Agent of the Debtor,
                       Owed Fiduciary Duties to the Debtor

       With respect to Defendant Baldwin only, Moving Defendants argue that “Claim One of

the Amended Complaint fails to state a [breach of fiduciary duty] claim against Baldwin because

the Trustee fails to plead any facts alleging Baldwin was a manager, director, or officer of Debtor

who owed a fiduciary duty.” Renewed MTD Br. at pp. 15-17. This identical argument has

already been raised by the Moving Defendants, see Prior MTD Br. (Adv. D.I. 17-1) at pp. 25-27,

and rejected by this Court. See MTD Opinion (Adv. D.I. 39) at pp. 32-37 (“The Complaint

alleges each of Festa, Baldwin, Boyer, and Culbertson were officers, employees, or agents of the

Debtor, and that in those capacities they each breached their duty of loyalty to Debtor as their

employer or principal. That is sufficient to provide notice to the Insider Defendants of the claim

against them and the basis for it, which is all that is required to survive dismissal.”).

       Moving Defendants’ renewed argument once again ignores black letter Pennsylvania law

establishing that “[a]ll agents are bound by the fiduciary duties of loyalty and obedience to the

principal.” Castle Cheese, Inc. v. MS Produce, Inc., 2008 WL 4372856, at *9 (W.D. Pa. Sept.

19, 2008); Alturnamats, Inc. v. Harry, 2008 WL 4279814, at *13 (W.D. Pa. Sept. 16, 2008)

(internal citations reformatted), order amended on reconsideration on other grounds, 2009 WL



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185952 (W.D. Pa. Jan. 23, 2009) (“[N]o man can serve two masters. Every agent is subject to a

duty not to act or to agree to act during the period of his agency for persons whose interests

conflict with those of the principal in matters in which the agent is employed.” (citations and

quotation marks omitted)).

       Yet again, Moving Defendants fail to cite any provision of the Pennsylvania Uniform

Limited Liability Company Act of 2016 (the “LLC Act,” codified at 15 Pa.C.S. § 8811, et seq.)

which undermines these well-established and long-standing principles of law, and there is no

such provision.12 Indeed, Pennsylvania’s Associations Code (of which the LLC Act is a part, see

15 Pa.C.S. § 101) explicitly provides that, “[u]nless displaced by the particular provisions of this

title, the principles of law and equity, including, but not limited to, the law relating to principal

and agent, estoppel, waiver, fraud, misrepresentation, duress, coercion, mistake, bankruptcy or

other validating or invalidating cause, shall supplement its provisions.” 15 Pa.C.S. § 110.

       Numerous cases decided under Pennsylvania law establish the point by holding that

employees or other agents of a limited liability company owe that company common law

fiduciary duties. See AmQuip Crane Rental, LLC v. Crane & Rig Servs., LLC, 199 A.3d 904,

915 (Pa. Super. 2018) (holding that a salesperson employed by an LLC breached his common

law duty of loyalty to the LLC by helping co-workers breach their noncompetition agreements);

Patient Acct. Serv. Ctr., LLC v. Ebling, 2022 WL 4073341, at *12 (M.D. Pa. Sept. 2, 2022)

(recognizing in a case brought by an LLC against a former employee that “Pennsylvania law



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        Moving Defendants cite Section 8849.2 and 8815(d)(3) of the LLC Act in support of the
proposition that “only the Managers of the Debtor owe fiduciary duties.” Renewed MTD Br. at p.
16. There is absolutely no language in those sections supporting this conclusion. Those sections
simply set forth general standards of conduct for members and managers and provide for limited
authority to alter the scope of those individuals’ duties, and do not speak to the duties owed by
other categories of individuals, such as employees, agents, and attorneys.

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dictates that an employee, as the agent of his employer, owes his employer a duty of loyalty”

(quoted reference omitted; emphasis added)); Neopart Transit, LLC v. CBM N.A. Inc., 314 F.

Supp. 3d 628, 636 (E.D. Pa. 2018) (denying motion to dismiss plaintiff LLC’s breach of

fiduciary duty claims against the employee of an LLC which was the plaintiff’s predecessor in

interest); cf. also Act II Jewelry, LLC v. Wooten, 301 F. Supp. 3d 905, 915-916 (N.D. Ill. 2018)

(collecting cases from other jurisdictions establishing that “Employees are not governed by an

LLC’s operating agreement, but rather by employment contracts and traditional rules of agency.

. . . [C]ertainly the ability to modify fiduciary duties owed by members and managers does not

eradicate all duties owed by agents.” (emphasis added)).

       Nor does the “Operating Agreement provide that only managers, directors, or officers owe

fiduciary duties to the Debtor,” as Moving Defendants once again argue. Renewed MTD Br. at

pp. 16-17 (citing Operating Agreement at §§ 5.1, 5.7, and 5.8). There is no language of any sort

in the Operating Agreement which references fiduciary duties in the agency context, states that

only Managers have fiduciary duties, or states that the company intended to displace the common

law of agency. With respect to the specific sections cited by the Moving Defendants, Sections 5.1

and 5.7 pertain only to Managers and is thus entirely inapplicable to Defendant Baldwin. While

certain aspects of Section 5.8 pertain to officers and agents of the Debtor, that section makes no

mention of the waiver of any fiduciary duties and explicitly states that Members, Managers,

officers and agents of the Company are prohibited from using their “position with the Company,

and the information received as a result of said position, in a manner that will harm the business

of the Company in any way,” which is exactly the misconduct alleged in the Amended Complaint.

       Knowing that their argument that agents cannot owe fiduciary duties is baseless, Moving

Defendants attempt to argue that the Amended Complaint “provides no factual basis to create an



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agency relationship.” Renewed MTD Br. at p. 16. The argument is likewise without merit, as

the Amended Complaint explicitly alleges that Defendant Baldwin was a spokesperson and agent

of the Debtor, Amended Complaint at ¶ 13, who breached fiduciary duties owed in that capacity

by, inter alia:

       Forming Good Design and Polebridge, entities which the Amended Complaint alleges the
        sole purpose of which was to usurp resources and monies properly belonging to the
        Debtor, id. at ¶¶ 20, 46-48, 63;

       Utilizing the Debtor’s employees for the purpose of selling CBDelight for the benefit of
        the Polebridge Entities, id. at ¶ 52;

       Instructing the Debtor’s sales team to divert payments for the sale of Faber Hand
        Sanitizer from the Debtor’s Square point of sale system to Polebridge’s Square account,
        despite knowing – as confirmed by her public statements as the Debtor’s spokesperson –
        that Faber Hand Sanitizer was produced and sold by the Debtor, id. at 71, 72, 76; and

       Utilizing the Debtor’s computer to access an email address associated with the Polebridge
        Entities to further the business interests of the Polebridge Entities, id. at 81.

These allegations amply establish that Baldwin was an agent of the Debtor, as she: exercised

direct control over the Debtor’s employees, id. at ¶¶ 46-47, 52, and 71; was identified as the

Debtor’s spokesperson and issued quotes on the Debtor’s behalf in Debtor press releases, id. at

¶¶ 72, 76; and had access to the Debtor’s computer system, id. at ¶ 81.

        Simply stated, the Amended Complaint definitively pleads that Defendant Baldwin was

an agent of the Debtor, the foregoing discussion establishes that agents of a limited liability

company owe it fiduciary duties, and Moving Defendants’ argument to the contrary is entirely

without merit and should be rejected yet again.

                  4.   As this Court Has Already Held, The Trustee States A Claim For
                       Aiding and Abetting Breach of Fiduciary Duty

        Moving Defendants argue that the Amended Complaint is insufficiently specific as to its

claim for aiding and abetting breach of fiduciary duty. Renewed MTD Br. at pp. 17-20. This


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argument has already been raised by the Moving Defendants, see Prior MTD Br. (Adv. D.I. 17-

1) at p. 34, and rejected by this Court. See MTD Opinion (Adv. D.I. 39) at pp. 40-44.

        Pennsylvania’s appellate courts have explicitly recognized the tort of aiding and abetting

breach of fiduciary duty as a valid cause of action. See, e.g., Official Comm. of Unsecured

Creditors of Allegheny Health Educ. & Research Found. v. PriceWaterhouseCoopers, LLP, 989

A.2d 313, 327 n.14 (Pa. 2010) (“Under present Pennsylvania law as established by the

Commonwealth Court as the highest appellate court which has reached the issue, aiding and

abetting a breach of fiduciary duty is a recognized cause of action.” (citing Koken v. Steinberg, 825

A.2d 723, 732 (Pa. Cmwlth. 2003)); Koken, 825 A.2d at 732 (“[Plaintiff] has clearly identified the

wrong, a breach of fiduciary duty, the wrongdoer, . . . and the party that acted in concert with the

wrongdoer . . . . Accordingly, . . . [plaintiff] has stated a cause of action . . . for aiding and abetting

a breach of fiduciary duty[.]”).

        To state a claim for aiding and abetting a breach of fiduciary duty under Pennsylvania law,

a plaintiff must allege the following elements: 1) a breach of a fiduciary duty owed to another; 2)

knowledge of the breach by the aider and abettor; and 3) substantial assistance or encouragement

by the aider and abettor in effecting that breach. Koken, 825 A.2d at 732. With respect to the

second element, “[e]ither the defendant’s direct knowledge of, or willful ignorance to, the breach

of fiduciary duty may satisfy the knowledge requirement for aiding and abetting.” Harrison v.

Harrison, 2021 WL 3022416, at *10 (E.D. Pa. July 15, 2021).




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       As to the first element, the Amended Complaint makes numerous individualized

allegations13 against the Insider Defendants establishing that they have breached their fiduciary

duties to the debtor, including the following:

      Defendant                     Individualized Misconduct Alleged                 Amended
                                                                                      Complaint
                                                                                          ¶¶
     Casey Parzych    Instructed Debtor sales representatives to make sales of        10, 60, 63,
                      CBDelight and Faber Hand Sanitizer their “mission               79
  (majority member critical” priorities even though all proceeds from these
 and Manager of the products went not to the Debtor but instead to the
 Debtor, member and Polebridge Defendants.
 president of AgTech Used Debtor resources and personnel to create Wynk               86, 88, 89
 PA, and agent of the seltzer and formed AgTech PA, of which he is President,
 Polebridge Entities, for the purposes of diverting the profits from Wynk
  the Wynk Entities, Seltzer away from the Debtor.
   and the Best Bev   Used Debtor computers and a personal Wynk Seltzer               92
       Entities)      email address to further the business of the Wynk Entities.
                      Waived the Debtor’s attorney client privilege by using his      101
                      personal Wynk Entities email address in communications
                      with the Debtor’s outside counsel.
                      Led, along with Defendant Sheehan, the scheme to funnel         110-112,
                      the Debtor’s business to the Sheehan Entities at a fire sale    116, 143
                      price.
                      Caused the Debtor to retain and pay for an HR consulting        122-124
                      firm on the eve of bankruptcy for the purposes of
                      benefitting entities other than the Debtor.
                      Falsely testified under oath during a Section 341 meeting       138-139
                      that the Debtor was not involved with the production of
                      Wynk Seltzer.
                      Made the Debtor’s bankruptcy counsel aware of his plan          149
                      to steal Debtor assets and divert business to other entities,
                      leading bankruptcy counsel to admonish him via email.
                      Ordered the deletion/transfer of the Debtor’s electronic        155
                      data.
                      Sabotaged the Debtor’s business prior to the transfer of its    156
                      assets to Millstone.


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        While the Amended Complaint’s allegations of misconduct undertaken by the Insider
Defendants as a group are entirely proper due to their acting together in furtherance of a common
scheme, see supra at pp. 54-57, the following chart includes only allegations of misconduct
attributed to individual defendants. The extensive nature of these allegations further demonstrates
why Moving Defendants’ “shotgun pleading” argument is without merit.

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                       Held himself out to the Debtor’s former customers as a        162
                       continuation of the Debtor for the benefit of the Best Bev
                       Entities.
                       Treated the Debtor as his personal piggy bank by making       178
                       a number of personal purchases using the Debtor’s funds.
                       Generated Work Product using the resources of the Debtor      250
                       for the benefit of entities other than the Debtor.
  Angus Rittenburg Formed Good Design and Polebridge, the sole purpose of            11, 46-47,
                       which was to usurp resources and monies properly              20, 63
 (member and officer belonging to the Debtor.
    of the Debtor,     Waived the Debtor’s attorney client privilege by using his    101
      officer and      personal Wynk Seltzer email address in communications
 member/shareholder with the Debtor’s outside counsel.
  of the Polebridge    Used Debtor resources and personnel to create Wynk            86
 Entities, and officer Seltzer.
    of the Best Bev    Used Debtor computers and personal Wynk Entities and          57, 92
   Entities and the    Polebridge Entities email addresses to further the business
    Wynk Entities)     of the Wynk Entities and the Polebridge Entities.
                       Treated the Debtor as his personal piggy bank by making       178
                       a number of personal purchases using the Debtor’s funds.
                       Generated Work Product using the resources of the Debtor      250
                       for the benefit of entities other than the Debtor.
      Kelly Festa      Used the Debtor’s computers to file the corporate             46-47, 20,
                       registration documents for Good Design and Polebridge,        63
    (Debtor CFO,       entities the sole purpose of which was to wrongfully
   Director of Sales   divert the resources of the Debtor.
  and Operations of Used Debtor computers and a personal Polebridge email            55
     the Best Bev      address to further the business of the Wynk Entities.
  Entities, and agent Used her personal Polebridge Entities email address to         70, 75
  of the Polebridge    instruct the Debtor’s sales managers to divert revenue
   Entities and the    from sales of Faber Hand Sanitizer away from the Debtor,
    Wynk Entities)     despite her knowledge, as she represented to the public,
                       that Faber Hand Sanitizer was produced and sold by the
                       Debtor.
                       Used Debtor computers and personal Wynk Entities and          87, 89
                       Polebridge Entities email addresses to further the business
                       of the Wynk Entities and the Polebridge Entities.
                       Waived the Debtor’s attorney client privilege by using her    101
                       personal Wynk Entities email address in communications
                       with the Debtor’s outside counsel.
                       Presented the Debtor as unfavorable to potential              111-112
                       purchasers in the hope of steering the Debtor’s business to
                       the Sheehan Entities at less than fair value, leading to an
                       admonishment from outside counsel.
                       Utilized the Debtor’s computer equipment and email            124
                       system to plan the “Can Man Shadow Structure,” which

                                               63
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                        depicted a corporate structure which would hold assets
                        which were to be pilfered from the Debtor.
                        Falsely informed Millstone that the Debtor’s industrial       150.a
                        shrink wrapper, which was transferred to another entity,
                        was broken and scrapped before closing.
                        Signed checks from the Debtor’s DIP account to pay for        150.c-
                        supplies and services for the benefit of the Best Bev         150.e
                        Entities.
                        Instructed vendors to falsely state that Debtor orders were   152
                        being delivered to the Debtor’s facilities when they were
                        actually being delivered to a non-Debtor location in which
                        the Polebridge Entities, the Wynk Entities, and the Best
                        Bev Entities operate.
                        Falsely testified that she inadvertently deleted the          154-155
                        Debtor’s electronic data and cloud computing drives when
                        that data was actually intentionally deleted, wiped, or
                        stolen.
                        Utilized the Debtor’s marketing files for the purposes of     165
                        marketing products for the benefit of the Best Bev
                        Entities.
   Ashleigh Baldwin Formed Good Design and Polebridge, entities which the             46-48, 20,
                        Amended Complaint alleges the sole purpose of which           63
   (Casey Parzych’s     was to usurp resources and monies properly belonging to
        spouse,         the Debtor.
 spokesperson for the Utilized the Debtor’s employees for the purpose of selling      52
  Debtor, officer and CBDelight for the benefit of the Polebridge Entities
 member/shareholder Instructed the Debtor’s sales team to divert payments for         71, 72, 76
   of the Polebridge    the sale of Faber Hand Sanitizer from the Debtor’s Square
 Entities, agent of the point of sale system to Polebridge’s Square account,
   Wynk Entities and despite knowing – as confirmed by her public statements
      the Best Bev      as the Debtor’s spokesperson – that Faber Hand Sanitizer
        Entities)       was produced and sold by the Debtor.
                        Utilized the Debtor’s computer to access an email address     81
                        associated with the Polebridge Entities to further the
                        business interests of the Polebridge Entities.
    Michael Boyer       Attorney who improperly served in the dual and                14, 176-
                        conflicting roles of general counsel to the Debtor and        177
  (general counsel to counsel to the Polebridge Entities and the Wynk Entities,
    the Debtor and      which existed for the purpose of defrauding the Debtor
     counsel to the     and its creditors.
  Polebridge Entities Presented the Debtor as unfavorable to potential                111-112
     and the Wynk       purchasers in the hope of steering the Debtor’s business to
        Entities)       the Sheehan Entities at less than fair value, leading to an
                        admonishment from outside counsel.
    R.F. Culbertson     Provided sales and marketing services for Good Design,        53, 20, 63
                        which the Amended Complaint alleges the sole purpose of

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 (COO and member        which was to usurp resources and monies properly
  of the Debtor and     belonging to the Debtor.
      agent of the      Used his Polebridge Entities email address on the             54
 Polebridge Entities,   Debtor’s application for a Paycheck Protection Program
  the Wynk Entities,    loan.
   and the Best Bev     Presented the Debtor as unfavorable to potential              111-112
       Entities)        purchasers in the hope of steering the Debtor’s business to
                        the Sheehan Entities at less than fair value, leading to an
                        admonishment from outside counsel.
                        Held himself out to the Debtor’s former customers as a        159-160,
                        continuation of the Debtor for the benefit of the Best Bev    162
                        Entities.
                        Utilized the Debtor’s marketing files for the purposes of     165
                        marketing products for the benefit of the Best Bev
                        Entities.

       Accordingly, the Amended Complaint demonstrates that the Insider Defendants breached

fiduciary duties which they owed to the Debtor, thus satisfying the first element of the Trustee’s

aiding and abetting claim. And the Amended Complaint also explicitly pleads that all Defendants

knew that the Insider Defendants’ conduct was a breach of fiduciary duty and that all Defendants

substantially assisted in and/or encouraged such breaches. Amended Complaint at ¶¶ 212-216.

But the Amended Complaint does not stop there – it contains significant factual detail which, when

viewed in the light most favorable to the Trustee, amply supports the elements of the aiding and

abetting cause of action as to all Moving Defendants.

       With respect to the second and third elements, the Amended Complaint establishes that all

of the Insider Defendants were high level employees or agents of the Debtor and thus would

necessarily have known about their breaches of fiduciary duty (or, if any of them are deemed not

to have breached such duties, about the other Insider Defendants’ breaches of their duties), and

that all of the Insider Defendants either directly breached their own fiduciary duties or, via the

conduct alleged in detail above, substantially assisted with the other Insider Defendants’ breaches




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of fiduciary duties.14 See pp. 62-65, supra; see also Marion v. Bryn Mawr Trust Co., 288 A.3d 76,

91 (Pa. 2023) (holding that “actual knowledge [for purposes of aiding and abetting a tort] does not

require the aider and abettor to ‘underst[and] the full legal significance of the facts, or all the details

of the primary wrongdoing.’ Rather, ‘[i]t is sufficient if the defendant was aware of facts that made

the primary conduct wrongful.’” (quotation marks, alteration marks, and citations omitted)); Burris

v. Main Line Health Sys., 2017 WL 2506446, at *12 n.16 (E.D. Pa. June 9, 2017) (holding at the

summary judgment stage that the knowledge element was satisfied when the defendant knew that

the fiduciary and the entity to which the duty was owed were “operating as partners”); Power

Restoration Int’l, Inc. v. PepsiCo, Inc., 2014 WL 1725041, at *5 (E.D. Pa. Apr. 30, 2014) (holding

that, at the motion to dismiss stage, the knowledge element of an aiding and abetting fiduciary

duty claim under Pennsylvania law did not have to be explicitly pleaded and could be inferred

from facts demonstrating active involvement and participation).

        Because it is well-settled that the knowledge of an agent is imputed to its principal,

Defendants Polebridge (for which Defendants Rittenburg and Baldwin are officers), Good Design

(for which Defendants Rittenburg and Baldwin are officers), and Wynk Entity AgTech PA (for

which Defendant Parzych is an officer), are properly deemed as also having knowledge of the

breach for purposes of an aiding and abetting claim. See, e.g., Rosenberry v. Evans, 48 A.3d 1255,



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         Moving Defendants, without citing a single authority, also repeat their previous argument
that it is improper for the Trustee to plead in the alternative that the Insider Defendants can be
held liable for aiding and abetting breaches of fiduciary duty if they are not personally deemed to
owe such a duty. Renewed MTD Br. at p. 20. The argument is specious, as it is well-established
that alternative pleading of this type is permissible. See In re Our Alchemy, LLC, 2019 WL
4447541, at *16 (Bankr. D. Del. Sept. 16, 2019) (“At the pleading stage, the Trustee is entitled to
plead in the alternative and to assert claims of aiding and abetting to the extent that some
defendants did not themselves have any fiduciary duties or were shielded from breach of
fiduciary duty claims by exculpatory provisions of debtor’s operating agreement.”).


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1262 (Pa. Super. 2012) (“It is well settled in the law of this jurisdiction that knowledge of an agent,

acting within the scope of his authority, real or apparent, may be imputed to the principal, and,

therefore, knowledge of the agent is knowledge of the principal.” (quotation marks and citation

omitted)). And the Amended Complaint contains numerous allegations establishing these entities’

active assistance in the underlying breaches of duty. See, e.g., Amended Complaint at ¶ 20 (“the

Polebridge Entities, with the substantial assistance of the Insider Defendants, misappropriated

Debtor resources, property, and personnel to generate sales and profits from CBDelight and Faber

Hand Sanitizer products, which rightfully belonged to the Debtor but were misappropriated by and

diverted to the Polebridge Entities”), ¶¶ 49-85 (Polebridge Entities used Debtor resources to

produce and sell CBDelight and Faber Hand Sanitizer products), ¶¶ 88-89 (AgTech PA formed for

purposes of diverting the profits of Wynk Seltzer away from the Debtor).

       That leaves Defendant Sheehan and remaining Moving Defendants AgTech VI, LLC, XO

Energy Worldwide, LLLP, XO EW, LLC, Best Bev, LLC, EtOH Worldwide, LLC, and Canvas

340, LLC. The Amended Complaint pleads ample facts from which this Court can infer that

Defendant Sheehan knew about and substantially assisted with the Insider Defendants’ breaches

of fiduciary duties, including the following:

      On April 17, 2020, Defendant Sheehan posted an advertisement for Faber Hand Sanitizer in
       furtherance of an agreement with the Insider Defendants to share in the ill-gotten profits
       from the sale of CBDelight and Faber Hand Sanitizer, which were stolen from the Debtor,
       Amended Complaint at ¶¶ 74, 63;
      In the fall of 2020, Defendant Sheehan was part of the team using Debtor resources to create
       Wynk Seltzer, id. at ¶ 86;
      On September 1, 2020, Defendant Sheehan organized AgTech VI, LLC for the purposes of
       diverting the profits from the sale of Wynk Seltzer away from the Debtor, id. at ¶ 87;
      Defendant Sheehan used his Wynk Seltzer email account (shawn@drinkwynk.com) in
       communications concerning the Debtor and its bankruptcy, id. at ¶ 101;
      Defendant Sheehan conspired with the other defendants to utilize his network of wholly-
       owned Virgin Islands entities to defraud the Debtor and its creditors, id. at ¶ 107;

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     Full time employees of the Sheehan Entities, which were wholly owned and controlled by
      Defendant Sheehan, maintained accounts on the Debtor’s computer system and had full
      access to the books, records, and online accounts belonging to the Debtor, id. at ¶¶ 44, 108;
     Defendant Sheehan, along with Defendant Casey Parzych, led the scheme to sell the
      Debtor’s assets to the Sheehan Entities at a fire-sale price, id. at ¶¶ 109-114, was copied on
      otherwise privileged communications between the Debtor and its bankruptcy counsel
      concerning the Debtor’s bankruptcy strategy, id. at ¶ 115, and, along with Defendant Casey
      Parzych, jointly retained a public relations firm to direct marketing strategies in light of
      Debtor’s bankruptcy and Sheehan’s anticipated takeover of the Debtor’s assets, id. at ¶ 116;
     Defendant Sheehan signed a letter dated June 10, 2021 to coerce PNC into cooperating with
      a Section 363 sale of the Debtor’s assets to entities he owns and controls at a low-ball price.
      Id. at ¶ 130. The letter was drafted in coordination with the Debtor and its counsel and
      demonstrates Sheehan’s access to insider information concerning the Debtor and which was
      used to the detriment of the Debtor, id.;
     Defendant Sheehan, along with Defendant Casey Parzych, ordered the deletion/transfer of
      the Debtor’s electronic data for purposes of hindering Millstone from competing with his
      Best Bev enterprise and to hinder any investigation into his misconduct, id. at ¶¶ 154-155;
      and
     Defendant Sheehan was actively involved in and coordinated the gross mismanagement of
      the Debtor’s Chapter 11 Case for improper purposes, id. at ¶¶ 104-116, 128-147, 175, 189.

       By the same principles of imputation applied to the Insider Defendants, Defendant

Sheehan’s knowledge and actions can be imputed to Defendants AgTech VI, LLC, XO Energy

Worldwide, LLLP, XO EW, LLC, Best Bev, LLC, EtOH Worldwide, LLC, and Canvas 340, LLC,

as Defendant Sheehan is: 1) an officer and sole member and manager of Defendant XO EW, LLC,

which is in turn the general partner of Defendant XO Energy Worldwide, LLLP, which is in turn

the sole member and manager of Defendant AgTech VI, LLC, see Amended Complaint at ¶ 24

(alleging that Defendant AgTech VI, LLC “is formally owned and operated by a complex web of

entities which are ultimately owned and controlled by Defendant Sheehan,” and describing in

detail the structure of those entities); 2) an officer and sole member and manager of Defendant XO

EW, LLC, which is in turn the general partner of Defendant XO Energy Worldwide, LLLP, which

is in turn the sole member and manager of Defendant EtOH Worldwide, LLC, which in turn is the




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sole member and co-manager of Defendant Best Bev, LLC, id. at ¶ 31; and 3) a member of

Defendant Canvas 340, LLC, id. at ¶¶ 22-25.

        Moreover, the Amended Complaint alleges that these entities – either directly, or by virtue

of their control of subsidiaries – participated in and enabled the Defendants’ scheme to defraud the

Debtor. See id. at ¶ 87 (AgTech VI formed for the purposes of diverting the profits from Wynk

Seltzer away from the Debtor), ¶¶ 128-129 (EtOH Worldwide, LLC and AgTech VI, LLC executed

sham lease agreements with the Debtor designed to create false administrative claims, and which

would require the Debtor to pay more than double the cost of the leased equipment over a two-

year term); ¶ 195 (Best Bev, LLC, Can Man, EtOH Worldwide, LLC, and AgTech VI fail to

cooperate with requests for information issued pursuant to Bankr. E.D.Pa. Local Rule 2004-1), ¶

115 (individuals with an “@xo-energy.com” email address – including Defendant Sheehan and

Sheehan Entities’ CFO John Charette, copied on otherwise privileged emails concerning the

Debtor’s bankruptcy strategy), ¶¶ 140, 147 (PNC’s counsel describes how “XO” and “EtOH”

entities were improperly manipulating the bankruptcy process), ¶¶ 125, 150 (describing post-

petition transfers illegally made to “Best Bev,” implicating Defendant Can Man, LLC, which at all

times did business as “Best Bev,” and Moving Defendant Best Bev, Inc., which was formed either

as the successor in interest to Can Man, LLC or created to avoid liability for Can Man, LLC’s

misconduct), ¶ 130 (EtOH Worldwide, LLC cities inside information of the Debtor in a letter

designed to coerce PNC into cooperating with a sale of the Debtor’s assets to the Best Bev Entities

at a low-ball price).

        Given the foregoing, the Amended Complaint alleges facts which “raise a reasonable

expectation that discovery will reveal evidence” establishing the elements of aiding and abetting

breach of fiduciary duty as to all Moving Defendants, Infantino, 2013 WL 3972770, at *2, and the



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Moving Defendants’ renewed argument that the claim is insufficiently pleaded should once again

be denied.15

               5.      As this Court Has Already Held, The Trustee Establishes A Plausible
                       Entitlement to Veil Piercing and Alter Ego Liability, and the Amended
                       Complaint States Claims for Veil Piercing, Alter Ego Liability, and
                       Successor Liability

       Moving Defendants repeat their previously asserted16 arguments that the Trustee fails to

state a claim for alter ego against Moving Defendants Casey Parzych, Rittenburg, and

Culbertson, and a claim for piercing the corporate veil against the Pilfering Entities. Renewed

MTD Br. at pp. 24-30. This Court should deny Moving Defendants a second bite at the apple,

and reject the arguments for the same reasons they were rejected in the first instance. See MTD

Opinion (Adv. D.I. 39) at pp. 49-53. Moving Defendants’ arguments as to successor liability are

likewise without merit, and should also be rejected.

                       a.      Legal Standards

       Pennsylvania recognizes two types of veil piercing doctrines – “alter ego,” under which

the owners of a company may be held liable for the company’s debts, and the “enterprise” theory,

under which companies with some level of common ownership or control may be held liable for



15
        Moving Defendants also repeat their argument that certain aspects of the Trustee’s claim
represents a collateral attack on this Court’s order approving the Section 363 sale. Compare
Renewed MTD Br. at pp. 21-23 (“Any challenge to the operation of the Debtor’s estate and/or the
character of the Section 363 Sale process is precluded by the Court’s contrary findings in the Sale
Order and is collaterally estopped.”), with Prior MTD Br. (Adv. D.I. 17-1) at pp. 30 (“The Trustee’s
quite clear attempt to challenge the sale process is an impermissible collateral attack on this Court’s
prior sale order, which is binding on the Trustee.”). Judge Coleman – who issued the sale order –
considered and rejected this argument, MTD Opinion at pp. 28, 37, and it should fail once again.
Indeed, the Trustee is not attempting to challenge or unwind the sale process in any way, shape, or
form, but is simply exercising her right to bring claims for breach of fiduciary duty due to the
Moving Defendants’ misconduct during the course of the sale process.

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       See Prior MTD Br. (Adv. D.I. 17-1) at pp. 37-40.

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each other’s debts. See Seven Springs Mountain Resort, Inc. on behalf of Sikirica v. Hess, No.

2022 WL 1004178, at *3-*5 (W.D. Pa. Apr. 4, 2022). Both forms of veil piercing are based on the

fundamental tenet that the corporate form “may be disregarded whenever justice or public policy

demand, such as when [it] has been used to defeat public convenience, justify wrong, protect fraud,

or defend crime. Fraud in its narrow sense need not be shown; Pennsylvania courts will disregard

the corporate form whenever it is necessary to avoid injustice, and so long as the rights of innocent

parties are not prejudiced nor the theory of corporate entity rendered useless.” Mortimer v.

McCool, 255 A.3d 261, 277 (Pa. 2021) (quotation marks and citation omitted); accord Reivia

Ashley, LLC v. Paselo Logistics, LLC, 2017 WL 6001640, at *14 (E.D. Pa. Dec. 1, 2017).

       The alter ego doctrine is an exception to the “general rule [that] members of a Pennsylvania

limited liability company are not personally liable for the debts, obligations or other liability of the

LLC.” Reivia Ashley, LLC, 2017 WL 6001640, at *13. “[I]n appropriate circumstances, the

general rule is inapplicable, and a court may pierce the corporate veil as an equitable remedy that

disregards the existence of a corporation17 to make the corporation’s individual principals and their

personal assets liable for the debts of the corporation.” Id. (internal quotation marks, alteration

marks, and citations omitted). While “[n]o clear test exists for determining when the piercing of

the corporate veil is appropriate . . ., courts may consider a number of [nonexclusive] factors in

making this determination, including, undercapitalization, failure to adhere to corporate

formalities, the insolvency of the entity, substantial intermingling of corporate and personal affairs,

use of the corporate form to perpetrate a fraud, and circumstances that present an element of



17
        A limited liability company is subject to the same veil piercing principles application to
corporations. See, e.g., Partners Coffee Co., LLC v. Oceana Servs. & Prod. Co., 700 F. Supp. 2d
720, 736 (W.D. Pa. 2010) (“Pennsylvania courts have found that the veil of an LLC may be pierced
to the same degree as that of a corporation.”).

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injustice or unfairness.” Id.; see also, e.g., E. Mins. & Chemicals Co. v. Mahan, 225 F.3d 330, 333

n.7 (3d Cir. 2000) (“Factors considered under Pennsylvania law, . . . with respect to the alter ego

theory include, but are not limited to, the following: [T]he failure to observe corporate formalities;

non-payment of dividends; insolvency of debtor corporation; siphoning the funds from corporation

by dominant shareholders; non-functioning of other officers and directors; absence of corporate

records; whether the corporation is a mere facade for the operations of a common shareholder or

shareholders; and gross undercapitalization.” (quotation marks and citation omitted)).

       Similarly, “[u]nder the enterprise or single-entity theory, two or more business entities

under some level of common ownership or control are treated as a single entity—or common

enterprise—for the purpose of liability.” Seven Springs, 2022 WL 1004178, at *4. “[T]here is no

clear test or settled rule in Pennsylvania as to exactly when the corporate veil can be pierced and

when it may not be pierced” under the enterprise theory, and courts must conduct “holistic, case-

by-case analyses” to determine whether the doctrine is applicable. Id. at *4-*5 (citing Mortimer,

255 A.3d 261 (unanimously recognizing the viability of the enterprise theory of liability under

Pennsylvania law)). After analysis of several other jurisdictions’ approach to enterprise liability,

and the various factors the jurisdictions considered, Mortimer set forth two factors which should

guide courts in evaluating enterprise liability: first, there must be such unity of interest and

ownership that the separate personalities of the corporation and the individual no longer exist, and

second, adherence to the corporate fiction under the circumstances would sanction fraud or

promote injustice. Mortimer, 255 A.3d at 286-287; see also Seven Springs, 2022 WL 1004178, at

*7 (holding under Pennsylvania law that the same factors which support application of the alter

ego theory also support application of the enterprise theory)




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        In addition to the two veil-piercing doctrines discussed above, it is well-settled that a

successor corporation may be held liable for the debts and liabilities of its predecessors “where . .

. the transaction amounts to a consolidation or de facto merger[,] . . . the purchasing corporation is

merely a continuation of the transferor corporation[,] or . . . the transaction is fraudulently entered

into to escape liability[.]” Philadelphia Electric Co. v. Hercules, Inc., 762 F.2d 303, 308 (3d Cir.

1985) (applying Pennsylvania law).         Indeed, “[e]ven where the relationship between the

predecessor and successor corporations does not fit neatly into the traditional continuation or de

facto model, courts will apply the continuity of enterprise theory to impose corporate successor

liability.” Today’s Child Learning Ctr. Inc. v. United States, 40 F. Supp. 2d 268, 273 (E.D. Pa.

1998). Pennsylvania’s Supreme Court holds that successor liability can apply even where there

are no common shareholders or officers between the original corporation and the alleged successor

corporation. See Fizzano Bros. Concrete Prod. v. XLN, Inc., 42 A.3d 951, 970 (Pa. 2012) (rejecting

a narrow, mechanical application of continuity of ownership in holding that “the manner by which

[continuity of ownership] may be shown is more extensive and attuned to . . . transactional

realities”).

        All of these doctrines are fact-specific and require a holistic analysis, and are accordingly

typically inappropriate for disposition at the motion to dismiss stage. Seven Springs, 2022 WL

1004178, at *6; Winner v. Etkin & Co., 2007 WL 2616084, *2 (W.D. Pa. Sept. 6, 2007) (denying

motion to dismiss because “[t]he veil-piercing doctrine requires a multi-factor, factually-intensive

inquiry”).

                       b.      The Amended Complaint States Plausible Claims For Relief
                               Under All Of The Foregoing Doctrines

        The Amended Complaint pleads numerous facts which, when viewed in the light most

favorable to the Trustee and bearing in mind that application of veil piercing/alter ego liability are

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inherently fact specific, support the conclusion that discovery will reveal evidence supporting each

of the above-described theories of veil piercing liability. The following facts support holding

Defendants Casey Parzych, Rittenberg, and Culbertson liable for the debts of the Debtor (of which

they are all members) under the alter ego veil piercing theory:

             the Debtor was undercapitalized and insolvent, as established by the Debtor being
unable to pay its debts and defaulting on the PNC loan as early as February 28, 2021, and its
Managers declaring it insolvent on June 3, 2021, Amended Complaint at ¶¶ 106, 127;

             the Debtor failed to adhere to corporate formalities and failed to maintain adequate
books and records, making it impossible to disentangle the affairs of the Debtor from those of the
Polebridge Entities, the Wynk Entities, and the Best Bev Entities, id. at ¶¶ 204.f-k, 231;

               the Debtor’s outside accounting firm reported the complete failure of the Debtor’s
accounting function and stated that internally prepared financial statements could not be relied
upon, id. at ¶ 174;

            Defendants Parzych and Rittenburg treated the Debtor as their personal piggy bank,
making a number of personal purchases using the Debtor’s funds, id. at ¶ 178;

                Defendants Parzych, Rittenburg, and Culbertson, along with the other Moving
Defendants, undertook numerous acts which, while made using the Debtor’s resources and
personnel, were for the benefit of the Polebridge Entities, the Wynk Entities, and the Best Bev
Entities, demonstrating an intermingling of affairs and supporting the conclusion that these entities
were mere instrumentalities of the individual defendants, see supra at pp. 62-65; see also id. at pp.
66-69 (describing numerous other points of entanglement between the affairs of the Debtor and
the affairs of the Polebridge Entities, the Wynk Entities, and the Best Bev Entities).

       These facts amply establish a plausible claim for relief under the alter ego theory against

Defendants Casey Parzych, Rittenburg, and Culbertson at the motion to dismiss stage. See, e.g.,

Seven Springs, 2022 WL 1004178, at *7 (the court carefully scrutinized the pleadings and denied

defendant’s Rule 12(b)(6) motion where “[t]he [a]mended [c]omplaint provides considerable

detail as to the [shareholder’s] personal use of funds from [the corporate entity],” “pleaded facts

showing [the corporate entity] was undercapitalized,” and “there was a lack of adherence to

corporate formalities,” including that “that [corporate entity] kept only meager records from 1991

to 2018”); Fletcher-Harlee Corp. v. Szymanski, 936 A.2d 87 (Pa. Super. 2007) (shareholder held

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personally liable under alter ego theory where the debtor company filed for bankruptcy after which

the shareholder began to perform identical work through another entity, the debtor was not

appropriately capitalized as evidence by its bankruptcy filing, failed to adhere to corporate

formalities, and the new entities used the debtor’s resources to operate their business).

       Similarly, under the enterprise veil piercing theory, the Amended Complaint pleads

substantial facts indicating that the Defendants exploited ownership and control over the Debtor

to commit a fraud or injustice on the Debtor and its creditors via the Polebridge Entities, the Wynk

Entities and the Best Bev Entities. See supra at pp. 62-65, 66-69 (describing Moving Defendants’

actions designed to benefit the Polebridge Entities, the Wynk Entities, and the Best Bev Entities

at the expense of the Debtor); see also Amended Complaint at ¶¶ 46-85 (detailed allegations

describing how Defendants exploited their ownership and control over the Debtor to use the

Debtor’s resources to manufacture, package, and market CBDelight and Faber Hand Sanitizer,

with all profits flowing not to the Debtor, but instead to the Polebridge Entities); id. at ¶¶ 86-103

(equivalent detailed allegations for the Wynk Entities); id. at ¶¶ 117-126, 148-151, 156-171

(equivalent detailed allegations for the Best Bev Entities).

       The Amended Complaint also pleads facts supporting the inference that discovery will

reveal evidence of common ownership and control between the Debtor, on the one hand, and the

Polebridge Entities, the Wynk Entities and the Best Bev Entities, on the other:

               Defendant Rittenburg formally owns equity in the Debtor and the Polebridge
Entities, and is a manager/officer of the Debtor, the Polebridge Entities, the Wynk Entities, and
the Best Bev Entities. Amended Complaint at ¶ 11;

              Defendant Parzych formally owns equity in the Debtor and Wynk Entity AgTech
PA LLC, is a manager/officer of the Debtor and Wynk Entity AgTech PA LLC, and exploited his
control over the Debtor to take numerous actions on behalf of the Best Bev Entities. Id. at ¶ 10,
see also supra at pp. 62-63;




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             Defendant Baldwin formally owned equity in and was an officer of Good Design
and Polebridge, exercised de facto high level managerial control over the Debtor and its
employees, and is an agent of the Wynk Entities and the Best Bev Entities. Amended Complaint
at ¶¶ 13, 71;

              Defendant Festa was CFO of the Debtor and is Director of Sales and Operations of
the Best Bev Entities, and exploited her control over the Debtor to take numerous actions on behalf
of the Polebridge Entities, the Wynk Entities, and the Best Bev Entities. Id. at ¶ 12, see also supra
at pp. 63-64; and

                Defendant Sheehan is the ultimate formal owner of and exercises control over
Wynk Entity AgTech VI via control of Wynk Entities XO Energy Worldwide, LLLP and XO EW,
LLC, Amended Complaint at ¶ 24, is the ultimate formal owner of and exercises control over Best
Bev Entity Best Bev, LLC via control of the Best Bev Entities XO EW, LLC, XO Energy
Worldwide, LLLP, and EtOH Worldwide, LLC, id. at ¶ 31, has an agreement with the Insider
Defendants to share in the ill-gotten profits diverted from the Debtor to the Polebridge Entities, id.
at ¶ 74, had full access to the Debtor’s books, records, and online accounts, id. at ¶ 108, improperly
influenced the Debtor’s bankruptcy strategy, and utilized his influence over the Debtor to benefit
the Wynk Entities, and the Best Bev Entities, id. at ¶¶ 175, 104-116, 128-147, 189.

       Moreover, a document created by the Defendant Festa (the Debtor’s CFO) and Defendant

Ryan Uszenski – a non-Moving Defendant who is the formal manager of Defendants Can Man,

LLC and Best Bev, LLC – depicted a corporate structure under which Can Man, LLC would own

Faber and all the Debtor’s other brands, and Best Bev, LLC is either the successor in interest to

Can Man, LLC or was created by Defendants in an attempt to avoid liability for Can Man’s

misconduct, an allegation supported by the fact that, inter alia, Can Man, LLC at all times did

business under the name Best Bev and had the same address and personnel as Best Bev, LLC. Id.

at ¶¶ 29-30, 124-125.

       The foregoing facts amply establish a plausible claim for relief under the enterprise theory

against the Polebridge Entities, the Wynk Entities, and the Best Bev Entities. See Seven Springs,

2022 WL 1004178, at *7 (holding under Pennsylvania law that the same factors which support

application of the alter ego theory also support application of the enterprise theory).




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       Finally, with respect to successor liability, the Amended Complaint pleads numerous facts

which support the inference that the Polebridge Entities, the Best Bev Entities and the Wynk

Entities are simply the continuation of the business of the Debtor via the continuity of management,

personnel, assets, and general business operations, including the following:

              Immediately before filing bankruptcy, a Debtor employee operating under the name
of the Debtor solicited employment applications for the benefit of the Polebridge Entities, the Best
Bev Entities and the Wynk Entities, Amended Complaint at ¶¶ 120-121;

              Defendant Parzych caused the Debtor to execute and pay for an HR Consulting
Services Agreement with a third party for the benefit of the Polebridge Entities, the Best Bev
Entities and the Wynk Entities, id. at ¶¶ 122-123;

                On the eve of the Debtor’s bankruptcy filing, Defendants Festa and Uszenski used
the Debtor’s computers to create and edit a document titled “Can Man Shadow Structure,” which
depicted a corporate structure under which Can Man would own Faber and all the Debtor’s other
brands, id. at ¶ 124;

             An October 7, 2021 text message sent by Defendant Culbertson to a former
customer of the Debtor stated that Defendants had “re-formed” the Debtor “and quickly started
[manufacturing] & co-packing 500,000 cans/bottles per day,” with similar text messages sent to
hundreds of the Debtor’s former customers using customer lists stolen from the Debtor, id. at ¶¶
159-161;

              Counsel to Millstone reported to the Debtor’s bankruptcy counsel that Defendants
Casey Parzych and Culbertson were “holding themselves out to customers as ‘Faber’ and saying
they[y] ‘re-formed’ the [Debtor’s] business,” id. at ¶¶ 162, 168;

             Defendant Festa was asking Debtor vendors to edit invoices for goods delivered to
Defendants’ new enterprise to falsely make it appear that the goods were being delivered to the
Debtor, id.;

              Defendants used the Debtor’s marketing files to create ostensibly new brands for
use by the Best Bev Entities, id. at ¶ 165;

               Defendants used the Debtor’s phone.com account for the benefit of the Best Bev
Entities, returning calls to Debtor customers who placed orders for Faber products, and instead
selling them the corresponding Best Bev products, id. at ¶ 166;

               Defendants, under the guise that the Best Bev Entities were a mere continuation of
the Debtor, set up business meetings with Debtor customers, id. at ¶ 167;



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              Prior customers of the Debtor were confused as to whether the Debtor and Best Bev
were separate entities, id. at ¶ 169; and

              Best Bev traded on the goodwill of the Debtor by representing to the public that it
had “years of dreaming up, canning and distributing our own beverages,” an obvious reference to
the continuation of the Debtor’s operations, id. at ¶ 170.

       Accordingly, the Amended Complaint raise a reasonable expectation that discovery will

reveal evidence of necessary elements of the successor liability theory, and Moving Defendants’

Motion should be denied. See, e.g., Fizzano Brothers, 42 A.3d at 962, 969-971 (“[T]he elements

of the de facto merger are not a mechanically-applied checklist, but a map to guide a reviewing

court” and include “(1) continuity of ownership; (2) a cessation of ordinary business and

dissolution of the predecessor as soon as practically and legally possible; (3) assumption by the

successor of the liabilities ordinarily necessary for the uninterrupted continuation of the business

of the predecessor, and (4) a continuity of management, personnel, physical location, aspects, and

general business operation.”); Smith v. A.O. Smith Corp., 270 A.3d 1185, 1193 (Pa. Super. 2022)

(“The ‘mere continuation’ exception to the general rule against successor liability is often treated

‘identically’ to and is ‘difficult to distinguish’ from the de facto merger exception.”).

                       c.      It Is Well Established That A Trustee Can Bring Veil Piercing
                               Claims

       Moving Defendants argue that the Trustee’s veil piercing and alter ego claims should be

dismissed because a trustee is not permitted “to pierce the veil of its own entity in post-petition

bankruptcy proceedings.” Renewed MTD Br. at pp. 24-25 The argument is entirely without

merit and was squarely rejected by this Court in In re Jamuna Real Est. LLC, 365 B.R. 540

(Bankr. E.D. Pa. 2007). That case considered an identical argument and held that, under

Pennsylvania, law, a Chapter 7 trustee is permitted to invoke veil piercing doctrines to prevent

abuse of the corporate form – “[a]s this remedy would serve to benefit those alleged to have been


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wronged by the individual defendants, Pennsylvania law would allow the Trustee to disregard

the Debtors’ corporate structures and impose liability on the individual defendants.” Id. at 562-

64; accord In re Charles Edwards Enterprises, Inc., 344 B.R. 788, 790 (Bankr. N.D.W. Va.

2006) (collecting cases holding that alter ego and veil piercing theories are property of the estate

which may be pursued by a Chapter 7 trustee); cf. also Occidental Chem. Corp. v. 21st Century

Fox Am., Inc., 2022 WL 6737217, at *6 (D.N.J. Oct. 11, 2022) (“alter ego liability claims are to

be addressed as property of the bankruptcy estate”); In re Emoral, Inc., 740 F.3d 875, 880-81 (3d

Cir. 2014) (“Just as the purpose behind piercing the corporate veil, however, the purpose of

successor liability is to promote equity and avoid unfairness, and it is not incompatible with that

purpose for a trustee, on behalf of a debtor corporation, to pursue that claim.”).

               6.      As this Court Has Already Held, The Trustee States A Claim For
                       Unjust Enrichment

       With respect to Defendants Casey Parzych, Rittenburg, Culbertson, AgTech VI and EtOH,

Moving Defendants argue that the Trustee’s claims for “unjust enrichment [are] precluded under

Pennsylvania law because of the written contract governing the parties’ relationships,” Renewed

MTD Br. at pp. 30-32, an argument already raised by the Moving Defendants, see Prior MTD Br.

(Adv. D.I. 17-1) at 40-42, and rejected by this Court. See MTD Opinion (Adv. D.I. 39) at 56 (“The

Court rejects the Moving Defendants’ argument that the claim is precluded by the Amended

Complaint’s claims sounding in contract, providing an adequate remedy at law.”). Likewise

already raised and rejected was Moving Defendants’ argument that the Trustee has failed to plead

the elements of a claim for unjust enrichment. See Prior MTD Br. (Adv. D.I. 17-1) at pp. 40-42;

MTD Opinion at 56 (“The Complaint’s allegations, taken as a whole and as true, allege that each

Defendant improperly received benefit, if not actual transfers of funds, from the Debtor through

the actions of the Insider Defendants and Sheehan, the appreciation of which was the profit, sales,

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and retention of other benefits that belonged to the Debtor, and the inequity of which is evidenced

by the Debtor’s resulting insolvency. These allegations state a claim for unjust enrichment.”).

       Under Pennsylvania law, unjust enrichment requires “(1) benefits conferred on defendant

by plaintiff; (2) appreciation of such benefits by defendant; and (3) acceptance and retention of

such benefits under such circumstances that it would be inequitable for defendant to retain the

benefit without payment of value.” Mitchell v. Moore, 729 A.2d 1200, 1203-04 (Pa. Super. 1999)

(citation omitted).   The Amended Complaint pleads these elements.            The Trustee’s unjust

enrichment claim is based on the Moving Defendants’ receipt of benefits at the expense of the

Debtor and its creditors. See Amended Complaint at, e.g., ¶¶ 2, 20, 27, 33, 44, 63, 74, 84-85, 87,

88, 106. The benefits were conferred without justification, given the Moving Defendants active

participation in the wrongdoing detailed at length in the Amended Complaint. See pp. 62-65, 66-

69, supra (detailing specific allegations of each Moving Defendant’s misconduct). Given these

allegations, there is a reasonable expectation that discovery will reveal evidence of the elements

of unjust enrichment, Infantino, 2013 WL 3972770, at *2, and Moving Defendants’ Motion should

be denied.

       Moving Defendants’ primary arguments in opposition to the Trustee’s unjust enrichment

claim are the supposed existence of contracts governing the relationship between the Debtor and

certain of the Moving Defendants and the purported availability of a remedy at law. Renewed

MTD Br. at pp. 40-41. The arguments are without merit because it is “entirely acceptable” to

pursue alternative theories at the pleading stage, and it is also “well established” that a plaintiff

may plead an alternative unjust enrichment theory even where the pleading also contains a

contract-based claim. In re FAH Liquidating Corp., 572 B.R. 117, 131 (Bankr. D. Del. 2017).

The Court may ultimately determine that unjust enrichment does not apply, either because a



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remedy is otherwise available, because certain writings govern the applicable relationship among

the parties, or for some other reason. But this is no cause to dismiss the unjust enrichment claims

at this stage of the proceedings. As numerous courts in the Third Circuit have held, a claim for

unjust enrichment should survive a motion to dismiss where it is plausible that the plaintiff could

otherwise be left without a remedy at law. See id. (citing Halperin v. Moreno, 2015 WL 5146161,

at *10 (Bankr. D. Del. Aug. 31, 2015)); In re Our Alchemy, LLC, 2019 WL 4447545, at *11

(denying motion to dismiss unjust enrichment claim because, inter alia, it was plausible the trustee

would be left without an adequate remedy at law if his fraudulent transfer claims ultimately failed).

               7.      The Amended Complaint States A Claim For Equitable Subordination

       This Court has previously rejected Moving Defendants’ challenges to the Trustee’s

equitable subordination claims on the grounds that the Trustee failed to allege that they engaged

in inequitable conduct and that the claims are barred by collateral estoppel based on this Court’s

prior orders. See Prior MTD Br. (Adv. D.I. 17-1) at p. 48-49 (“As a threshold matter, the Moving

Defendants strongly dispute that they engaged in any inequitable conduct whatsoever. . . . “[A]ny

attempt to seek equitable subordination of previously settled claims is an impermissible collateral

attack on this Court’s prior orders.”); MTD Opinion (Adv. D.I. 39) at 64-67 (allowing the Trustee’s

equitable subordination claims to proceed against Moving Defendants AgTech VI, EtOH, and

Boyer). Here, Moving Defendants renew these same arguments. Renewed MTD Br. at pp. 32-36.

Their renewed effort should be rejected yet again.

       With respect to Defendant Boyer, the Amended Complaint pleads that he was an attorney

who improperly served in the dual and conflicting roles of general counsel to the Debtor and

counsel to the Polebridge Entities and the Wynk Entities, which existed for the purpose of

defrauding the Debtor and its creditors. See Amended Complaint at ¶¶ 14, 176-177. The Amended



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Complaint alleges that the relationship between Defendant Boyer went far beyond the normal

attorney-client boundaries by pleading that Defendant Boyer: was general counsel for the Debtor

(not simply an outside attorney with a limited scope of engagement), Amended Complaint at ¶ 14;

was improperly serving in the dual and conflicting roles of general counsel to the Debtor and

counsel to the Polebridge Entities and the Wynk Entities, which existed for the purpose of

defrauding the Debtor and its creditors, id. at ¶¶ 14, 176-177; and was admonished by the Debtor’s

outside counsel for presenting the Debtor as unfavorable to potential purchasers in the hope of

steering the Debtor’s business to the Sheehan Entities at less than fair value, yet continued to do

so, id. at ¶ 111-112. Accordingly, the Amended Complaint alleges far more than simply the

“representation of multiple parties,” Renewed MTD Br. at p. 34, and Moving Defendants’

argument that the Amended Complaint fails to plead inequitable conduct on the part of Defendant

Boyer should be rejected.

       The Amended Complaint contains similarly detailed allegations demonstrating inequitable

conduct on the part of AgTech VI, LLC and EtOH Worldwide, LLC. See Amended Complaint at

¶ 87 (AgTech VI formed for the purposes of diverting the profits from Wynk Seltzer away from

the Debtor), ¶¶ 128-129 (EtOH Worldwide, LLC and AgTech VI, LLC executed sham lease

agreements with the Debtor designed to create false administrative claims, and which would

require the Debtor to pay more than double the cost of the leased equipment over a two-year term),

¶ 195 (EtOH Worldwide, LLC, and AgTech VI, LLC fail to cooperate with requests for information

issued pursuant to Bankr. E.D.Pa. Local Rule 2004-1), ¶¶ 140, 147 (PNC’s counsel describes how

“XO” and “EtOH” entities were improperly manipulating the bankruptcy process), ¶ 130 (EtOH

Worldwide, LLC cities inside information of the Debtor in a letter designed to coerce PNC into




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cooperating with a sale of the Debtor’s assets to the Best Bev Entities at a low-ball price). Moving

Defendants’ argument is accordingly without merit as to these entities.

               8.      The Amended Complaint States a Claim for Turnover

       The Amended Complaint states a claim under 11 U.S.C. § 542, which is titled “Turnover

of property to the estate” and states in relevant part as follows:

               (a) . . . an entity . . . in possession, custody, or control, during the
               case, of property that the trustee may use, sell, or lease under section
               363 of this title, or that the debtor may exempt under section 522 of
               this title, shall deliver to the trustee, and account for, such property
               or the value of such property, unless such property is of
               inconsequential value or benefit to the estate.

                                               ***
               (e) Subject to any applicable privilege, after notice and a hearing,
               the court may order an attorney, accountant, or other person that
               holds recorded information, including books, documents, records,
               and papers, relating to the debtor’s property or financial affairs, to
               turn over or disclose such recorded information to the trustee.

11 U.S.C. §§ 542(a), (e).

       The Amended Complaint alleges that Defendants are in possession of the Debtor’s emails

and other electronic information,18 which relate to the Debtor’s property and financial affairs, and

are thus recoverable under Section 542(e). While Moving Defendants renew their previously

unsuccessful19 argument that a dispute exists as to proper title to the information and as to when it

was transferred, any such dispute is not bona fide because the allegations of the Amended

Complaint must be accepted as true for purposes of a motion to dismiss, and title to the property

is irrelevant under Section 542(e). See In re Am. Metrocomm Corp., 274 B.R. 641, 652 (Bankr.

D. Del. 2002) (“Although an action for turnover under § 542(a) requires that the information



18
       See Amended Complaint at, e.g., ¶¶ 91, 154, 164, 165.
19
       See Prior MTD Br. (Adv. D.I. 17-1) at 49-51; MTD Opinion (Adv. D.I. 39) at 69.

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requested be property of the estate, there is no such requirement in § 542(e).”). “The Third Circuit

has explained that a ‘bona fide dispute’ exists only when there is ‘a genuine issue of material fact

that bears upon the debtor’s liability, or a meritorious contention as to the application of law to

undisputed facts.’” In re Joey’s Steakhouse, LLC, 474 B.R. 167, 188 (Bankr. E.D. Pa. 2012)

(quoting B.D.W. Associates v. Busy Beaver Bldg. Ctrs., 865 F.2d 65, 66 (3d Cir. 1989)). The

undisputed facts alleged in the Amended Complaint establish that a turnover claim is proper,

Moving Defendants cannot dispute those facts via a motion to dismiss, and the Motion should thus

be denied with respect to the turnover claims.

V.     CONCLUSION

       In light of the foregoing facts and authorities, the Trustee respectfully submits that Moving

Defendants’ motion to dismiss the Amended Complaint should be denied.20


Dated: October 29, 2024

                                                   COREN & RESS, P.C.

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        In the alternative, if the Court determines that dismissal of any claims is warranted, Plaintiff
respectfully requests that the dismissal be without prejudice so that the Trustee may amend the
complaint with respect to any claim deemed insufficient. See, e.g., Phillips, 515 F.3d at 245 (“even
when plaintiff does not seek leave to amend his complaint after a defendant [successfully] moves
to dismiss it, unless the district court finds that amendment would be inequitable or futile, the court
must inform the plaintiff that he or she has leave to amend the complaint within a set period of
time”).

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